Jefferson Parish Sheriff's Office
Homicide Section
Sergeant Thomas Gai
Investigative Report
Item Number: E-08492-18

Incident In Custody Death
Date / Time of Occurrence: Thursday, May 10, 2018 / 10:10 a.m.
Location of Occurrence: 11 Labarre Place

Jefferson, Louisiana 70121

2401 Jefferson Highway (Shell Service Station)
Metairie, Louisiana

Decedent: Keeven L. Robinson AKA: Maxx
Race / Sex: Black / Male
Date of Birth: GME 4 ge: (22)

(Injury: Components of compressional asphyxia
manner of death classified as a homicide)

Case Investigator: Sergeant Thomas Gai
Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
Homicide Section
725 Maple Avenue
Harvey, Louisiana 70058
(504) 364-5295

Officers Involved in Incident: _ Detective Gary Bordelon
Jefferson Parish Sheriff's Office
Special Investigations Bureau
Narcotics Division Group "3"
725 Maple Avenue
Harvey, Louisiana 70058
(504) 364-5500

Reporting Officer:
Sergeant Thomas Gai

Approving Supervisor:
ant Donald Meuniey-

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— at ~
lefferson Parish Sheriff's Office

Assisting Bureau Personnel:

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Continuaton

Captain Kevin Balser

Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
Persons Division

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5296

Chief Dax Russo

Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
CIB Commander

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5431

Detective William Whittington
Jefferson Parish Sheriff's Office

Special Investigations Bureau

Gretna Police Major Crimes Task Force
725 Maple Avenue

Harvey, Louisiana 70058

(504) 363-5500

Detective Dennis Thornton
Jefferson Parish Sheriff's Office
Special Investigations Bureau
Criminal Intelligence Center
3300 Metairie Road

Metairie, Louisiana 70001
(504) 363-5500

Detective Jesus Falcon
Jefferson Parish Sheriff's Office
Special Investigations Bureau
Criminal Intelligence Center
3300 Metairie Road

Metairie, Louisiana 70001
(504) 363-5500

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Jefferson Parish Sheriff's Office

Other Assisting Agency Personnel:

E-08492-18
Continuation

Detective Eric Dufrene
Jefferson Parish Sheriff's Office
Special Investigations Bureau
DEA Task Force

723 Maple Avenue

Harvey, Louisiana 70058

(504) 363-5500

Lieutenant Jason Monnerjahn
Jefferson Parish Sheriff's Office
Special Investigations Bureau
Narcotics Division Group "3"
#20 Maple Avenue

Harvey, Louisiana 70058

(504) 363-5500

Lieutenant Patrick Bradley
Louisiana State Police

New Orleans Field Office

LSP Region 1

1450 Poydras Street Suite 1300
New Orleans, Louisiana 7011?

Sergeant Alan Arcana
Louisiana State Police

New Orleans Field Office

LSP Region 1

1450 Poydras Street Suite 1300
New Orleans, Louisiana 70112

Master Trooper Sean McCaffery
Louisiana State Police

New Orleans Field Office

LSP Region 1

1450 Poydras Street Suite 1300
New Orleans, Louisiana 7011?

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Crime Scene Personnel:

Jefferson Parish Sheriff's Office

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Continuation

Senior Trooper Gustave Bethea
Louisiana State Police

New Orleans Field Office

LSP Region 1

1450 Poydras Street Suite 1300
New Orleans, Louisiana 70112

Investigator Raymond Hughes
Louisiana State Police

New Orleans Field Office

LSP Region 1

1450 Poydras Street Suite 1300
New Orleans, Louisiana 70112

Sergeant Marlo Bruno
Jefferson Parish Sheriff's Office
Technical Services Bureau
Crime Scene Division

1233 Westbank Expressway
Harvey, Louisiana 70058

(504) 875-3800

Sergeant Rodney Naumann
Jefferson Parish Sheriff's Office
Technical Services Bureau
Crime Scene Division

1233 Westbank Expressway
Harvey, Louisiana 70058

(504) 875-3800

Deputy Chantelle Landeche
Jefferson Parish Sheriff's Office
Technical Services Bureau
Crime Scene Division

1233 Westbank Expressway
Harvey, Louisiana 70058

(504) 875-3800

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lefferson Parish Sheriff's Office

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Continuation

Detective David Lowe
Jefferson Parish Sheriff's Office
Special Investigations Bureau
Narcotics Division Group "3"
725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5500

Detective Jason Spadoni
Jefferson Parish Sheriff's Office
Special Investigations Bureau
Narcotics Division Group "3"
725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5500

Detective Justin Brister
Jefferson Parish Sheriff's Office
Special Investigations Bureau
Narcotics Division Group "3"
725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5500

Detective Thorin Guidry
Jefferson Parish Sheriff's Office
Special Investigations Bureau
Narcotics Division Group "3"
725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5500

Sergeant Joseph Waguespack
Jefferson Parish Sheriff's Office
Special Investigations Bureau
Narcotics Division Group "3"
725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5500

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Jefferson Parish Sheriff's Office

Assisting Homicide Personnel:

E-08492-18

Continuation

Lieutenant Donald Meunier
Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
Homicide Section

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5387

Detective Anthony Buttone
Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
Homicide Section

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5312

Detective Kristian Fricke
Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
Homicide / Shoot Squad

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5301

Detective William Roniger
Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
Homicide Section

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5321

Detective Harold Wischan Jr.
Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
Homicide Section

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5375

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Jefferson Parish Sheriff's Office
E-08492-18
Continuation

Detective Jean Lincoln
Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
Homicide Section

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5312

Detective Kurt Zeagler
Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
Homicide Section

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5390

Deputy Mary Clare Ulasiewicz
Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
Shoot Team

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5300

Deputy Paul Dimitri

Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
Shoot Team

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5300

Deputy Brian Kahrs

Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
Shoot Team

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5300

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lefferson Parish Sheriff's Office

Assisting Bureau Personnel:

E-0849?-18
Continuaton

Captain Kevin Balser

Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
Persons Division

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5296

Chief Dax Russo

Jefferson Parish Sheriff's Office
Criminal Investigations Bureau
CIB Commander

725 Maple Avenue

Harvey, Louisiana 70058

(504) 364-5431

Detective William Whittington
Jefferson Parish Sheriff's Office

Special Investigations Bureau

Gretna Police Major Crimes Task Force
725 Maple Avenue

Harvey, Louisiana 70058

(504) 363-5500

Detective Dennis Thornton
Jefferson Parish Sheriff's Office
Special Investigations Bureau
Criminal Intelligence Center
3300 Metairie Road

Metairie, Louisiana 70001
(504) 363-5500

Detective Jesus Falcon
Jefferson Parish Sheriff's Office
Special Investigations Bureau
Criminal Intelligence Center
3300 Metairie Road

Metairie, Louisiana 70001
(504) 363-5500

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Jefferson Parish Sheriff's Office

Other Assisting Agency Personnel:

E-08492-18
Continuation

Detective Eric Dufrene
Jefferson Parish Sheriff's Office
Special Investigations Bureau
DEA Task Force

723 Maple Avenue

Harvey, Louisiana 70058

(504) 363-5500

Lieutenant Jason Monnerjahn
Jefferson Parish Sheriff's Office
Special Investigations Bureau
Narcotics Division Group "3"
#20 Maple Avenue

Harvey, Louisiana 70058

(504) 363-5500

Lieutenant Patrick Bradley
Louisiana State Police

New Orleans Field Office

LSP Region 1

1450 Poydras Street Suite 1300
New Orleans, Louisiana 7011?

Sergeant Alan Arcana
Louisiana State Police

New Orleans Field Office

LSP Region 1

1450 Poydras Street Suite 1300
New Orleans, Louisiana 70112

Master Trooper Sean McCaffery
Louisiana State Police

New Orleans Field Office

LSP Region 1

1450 Poydras Street Suite 1300
New Orleans, Louisiana 7011?

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Crime Scene Personnel:

Jefferson Parish Sheriff's Office

E-08492-1§
Continuation

Senior Trooper Gustave Bethea
Louisiana State Police

New Orleans Field Office

LSP Region 1

1450 Poydras Street Suite 1300
New Orleans, Louisiana 70112

Investigator Raymond Hughes
Louisiana State Police

New Orleans Field Office

LSP Region 1

1450 Poydras Street Suite 1300
New Orleans, Louisiana 70112

Sergeant Marlo Bruno
Jefferson Parish Sheriff's Office
Technical Services Bureau
Crime Scene Division

1233 Westbank Expressway
Harvey, Louisiana 70058

(504) 875-3800

Sergeant Rodney Naumann
Jefferson Parish Sheriff's Office
Technical Services Bureau
Crime Scene Division

1233 Westbank Expressway
Harvey, Louisiana 70058

(504) 875-3800

Deputy Chantelle Landeche
Jefferson Parish Sheriff's Office
Technical Services Bureau
Crime Scene Division

1233 Westbank Expressway
Harvey, Louisiana 70058

(504) 875-3800

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jefferson Parish Sheriff's Office

Assisting District Personnel:

Assisting Traffic Personnel:

Crime Laboratory Personnel:

E-08492-18
Continuation

Deputy Kimberly Stierwald
Jefferson Parish Sheriff's Office
Technical Services Bureau
Crime Scene Division.

1233 Westbank Expressway
Harvey, Louisiana 70058

(504) 875-3800

Sergeant Shawn Minnis
Jefferson Parish Sheriff's Office
Operations Division

First District Patrol

4116 Hessmer Avenue
Metairie, Louisiana 70002
(504) 598-5901

Lieutenant George Gutierrez
Jefferson Parish Sheriff's Office
Special Operations Bureau
Traffic Division

1400 US Highway 90

Bridge City, Louisiana 70094
(504) 598-5880

Deputy Marc Ducote

Jefferson Parish Sheriff's Office
Special Operations Bureau
Traffic Division

1400 US Highway 90

Bridge City, Louisiana 70094
(504) 598-5880

Analyst Alexis Rivera
Jefferson Parish Sheriff's Office
Technical Services Bureau
Crime Laboratory Division
1233 Westbank Expressway
Harvey, Louisiana 70058

(504) 875-3800

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Jefferson Parish Sheriff's Office

Coroner's Office Personnel:

EMS Personnel:

E-08492-18
Continuation

Analysist David M. Cox MS.F.5.
Jefferson Parish Sheriff's Office
Technical Services Bureau
Crime Laboratory Division

1233 Westbank Expressway
Harvey, Louisiana 70058

(504) 875-3800

Investigator Cory Rodivich
Jefferson Parish Coroner's Office
2018 8 Street

Harvey, Louisiana 70038

(504) 258-0283

EMT Tammy Dardar (Unit EJ-301)
East Jefferson General Hospital
Emergency Medical Service

3120 Lime Street

Metairie, Louisiana 70006

(504) 503-7152

EMT Joshua Hill (Unit EJ-50)
East Jefferson General Hospital
Emergency Medical Service
3120 Lime Street

Metairie, Louisiana 70006

(504) 503-7152

EMT Kemberly Wilkerson (Unit EJ-50)
East Jefferson General Hospital
Emergency Medical Service

3120 Lime Street

Metairie, Louisiana 70006

(504) 503-7152

EMT Michael Ortiz (Unit EJ-80)
East Jefferson General Hospital
Emergency Medical Service
3120 Lime Street

Metairie, Louisiana 70006

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Witnesses:

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Jefferson Parish Sheriff's Office

E-08492-18
Continuation
(504) 503-7152

EMT Alicia Tate (Unit EJ-60)
East Jefferson General Hospital
Emergency Medical Service
3120 Lime Street

Metairie, Louisiana 70006

(504) 503-7152

EMT Jaiden Jackson (Unit EJ-60)
Hast Jefferson General Hospital
Emergency Medical Service
3120 Lime Street

Metairie, Louisiana 70006

(504) 503-7152

EMT Director Michael Gulliot
East Jefferson General Hospital
Emergency Medical Service
3120 Lime Street

Metairie, Louisiana 70006

(504) 503-7152

EMT Supervisor Huey Marcel
East Jefferson General Hospital
Emergency Medical Service
3120 Lime Street

Metairie, Louisiana 70006
(504) 503-7152

Nancy Brown
Race / Sex: Black / Female

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Vehicles:

letferson Parish Sheriff's Office

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Continuation

Scott Krause
Race / Sex: White / Male

Natallia Phelan
Race / Sex: Hispanic

Patrick Bain

Race : Sex: White Male
ar Saas

Make: Mitsubishi

Model: Outlander

Year: 2012

Color: Black

Plate: LA Tempt tag 18839452
VIN: JA4AP3AU4CZ009510

Owner: Scott Krause
Operator: Keeven Rebinson

Make: Toyota

Model: Rav 4

Year: 2017

Color: Black

Plate: 805-BJT

VIN: 2TSBFREV3SHW676028

Owner: Jefferson Parish Sheriff's Office (Spadoni)

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Jefferson Parish Sheriff's Office
E-08492-18
Continuation

Make: Dodge

Model: Charger

Year: 2015

Color: Silver

Plate: ZIE-739

VIN: 2C3CDXAG4FH858649

Owner: Jefferson Parish Sheriff's Office

(Waguespack)

Make: Chevrolet

Model: Impala

Year: 2012

Color: Black

Plate: WLJ-163

VIN: 2G1WF5E33C1294908

Owner: Jefferson Parish Sheriff's Office (Lowe)

Make: Toyota

Model: Camry

Year: 2017

Color; Gray

Plate: 981-BIW

VIN: 4T1BF1FK2HU377628

Owner: Jefferson Parish Sheriff's Office (Bordelon)

Make: Toyota

Model: Tundra

Year: 2007

Color: Red

Plate: Y023853

VIN: 5TFRV54117X014886

Owner: Jefferson Parish Sheriff's Office (Guidry)

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on top of a table under carport at 11 Labarre Place, field tested positive for
marijuana), Exhibit: Ten.

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Jefferson Parish Sheriff’s Office
E-08492-18
Continuation

One plastic bag containing a white powdery substance, (Obtained from scene on
top of a table under carport at 11 Labarre Place, field tested positive for cocaine),
Exhibit: Eleven.

One plastic bag containing thirty clear plastic bags containing a light brown
powder substance, (Obtained from scene on top of a table under carport at 11
Labarre Place, field tested positive for heroin), Exhibit: Twelve.

One plastic bag containing brown rock-like substance, (Obtained from scene on
top of a table under carport at 11 Labarre Place, field tested positive for heroin),
Exhibit: Thirteen.

One pharmacy card, (Obtained from scene on top of a table under carport at 11
Labarre Place), Exhibit: Fourteen.

One Louisiana personal driver's license in the name of Keeven L. Robinson,
(Obtained from scene on top of a table under carport at 11 Labarre Place),
Exhibit: Fifteen.

One IHG rewards card, (Obtained from scene on top of a table under carport at
11 Labarre Place), Exhibit: Sixteen.

One package of Backwoods Honey Cigars, (Obtained from scene on top of a table
under carport at 11 Labarre Place), Exhibit: Seventeen.

One yellow metal necklace with two pendants, (Obtained from scene on top of a
table under carport at 11 Labarre Place), Exhibit: Eighteen.

One tube of Carmex lip balm, (Obtained from scene on top of a table under
carport at 11 Labarre Place), Exhibit: Nineteen.

One glass vial marked Red Intense containing an unknown liquid, (Obtained
from scene on top of a table under carport at 11 Labarre Place), Exhibit: Twenty.

One yellow metal wrist watch, (Obtained from scene on top of a table under
carport at 11 Labarre Place), Exhibit: Twenty-One.

Two hundred forty-eight dollars in US currency - (7) $20.00, (6) $10.00, (4) $5.00,
and (28) $1.00, (Obtained from scene on top of a table under carport at 11 Labarre
Place), Exhibit: Twenty-Two.

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Jefferson Parish Sheriff's Office
E-08492-18
Continuation

One Springfield Armory, model: XDM-40, .40 caliber semiautomatic pistol, S/N:
MG321849, "Photo marker 1", (Obtained from driver's side floorboard of a black
2012 Mitsubishi Outlander}, Exhibit: Twenty-Three.

Two swabs (Obtained from a Springfield Armory, model: XDM-40, .40 caliber
semiautomatic pistol, 5/N: MG321849), Exhibit: Twenty-Four.

Fifteen 40 caliber cartridges - (8) R-P, (5) Federal, (1) Hornady, and (1) Barnes,
(Obtained from a Springfield Armory, model: XDM-40, .40 caliber semiautomatic
pistol, S/N: MG321849), Exhibit: Twenty-Five.

One iPhone cellular phone, IMEI #: 354390066002277, “Photo marker 2",
(Obtained from driver's side floorboard of a black 2012 Mitsubishi Outlander),
Exhibit: Twenty-Six.

One partially burned piece of a handrolled cigarette containing green vegetative
matter, "Photo marker 3", (Obtained from center console holder of a black 2012
Mitsubishi Outlander), Exhibit: Twenty-Seven.

One Samsung, cellular phone, Model: SMP-M930BCT, "Photo marker 4",
(Obtained from center console of a black 2012 Mitsubishi Outlander), Exhibit:
Twenty-Eight.

One JPSO Evidence Grade CD-R (DFU Extraction Report Samsung, Model; SMP-
M930BCT) logged as evidence in the Homicide Evidence Book number "3", on
page 095. Exhibit: Twenty-Eight-A.

One Samsung, cellular phone, S/N: Unknown, "Photo marker 5", (Obtained from
center console compartment of a black 2012 Mitsubishi Outlander), Exhibit:
Twenty-Nine.

One JPSO Evidence Grade CD-R (DFU Extraction Report Samsung, Model: SCH-
U350) logged as evidence in the Homicide Evidence Book number "3", on page
095. Exhibit: Twenty-Nine-A.

One WeightMax scale, model: BLG-1000, "Photo marker 6", (Obtained from
glovebox of a black 2012 Mitsubishi Outlander), Exhibit: Thirty.

One Texas license plate GDW-5417, (Obtained from trunk compartment of a
black 2012 Mitsubishi Outlander), Exhibit: Thirty-One.

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lefferson Parish Sheriff's Office
E-08492-18
Continuation

One Louisiana temporary license plate 18839452, (Obtained from glovebox of a
black 2012 Mitsubishi Outlander), Exhibit: Thirty-Two.

One blue mesh Jansport back pack, (Obtained from driver's seat of a black 2012
Mitsubishi Outlander), Exhibit: Thirty-Three.

One JPSO Evidence Grade DVD-R S/N: 00100024209 (Interview with Detective
Gary Brodelon) logged as evidence in the Homicide Evidence Book number "3",
on page 091. Exhibit: Thirty-Four.

One JP5O Evidence Grade DVD-R S/N: 00100024210 (Interview with Detective
David Lowe) logged as evidence in the Homicide Evidence Book number "3", on
page 091. Exhibit: Thirty-Five.

One JPSO Evidence Grade DVD-R S/N: 00100024211 (Interview with Detective
Jason Spadoni) logged as evidence in the Homicide Evidence Book number "3",
on page 091. Exhibit: Thirty-Six.

One JPSO Evidence Grade DVD-R S/N: 00100024212 (Interview with Detective
Justin Brister) logged as evidence in the Homicide Evidence Book number "3", on
page 091. Exhibit: Thirty-Seven.

One JPSO Evidence Grade DVD-R S/N: 00100024212 (Interview with Terrill
Tureaud filed under JPSO item: E-13811-18) logged as evidence in the Homicide
Evidence Book number "3", on page 094. Exhibit: Thirty-Eight.

One JPSO Evidence Grade DVD-R S/N: 00005065420 (9-1-1 and radio recordings)
logged as evidence in the Homicide Evidence Book number "3", on page 095.
Exhibit: Thirty-Nine.

One JPSO Evidence Grade DVD-R S/N: 00005065421 (Video surveillance footage
obtained from 2401 Jefferson Highway and 16 Labarre Place) logged as evidence
in the Homicide Evidence Book number "3", on page 095. Exhibit: Forty.

One JPSO Evidence Grade DVD-R S/N: 00005065409 (Medical records / news
articles / crime scene photographs) logged as evidence in the Homicide Evidence
Book number "3", on page 095, Exhibit: Forty-One.

One six person photographic lineup (Filed under JPSO item: E-13811-18) logged
as evidence in the Homicide Evidence Book number "3", on page 091. Exhibit:
Forty-Two.

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Jefferson Parish Sheriff's Office
E-08492-18
Continuation

One single photograph or Nancy Brown signed by Terrill Tureaud (Filed under
JPSO item: E-13811-18) logged as evidence in the Homicide Evidence Book
number "3", on page 094. Exhibit: Forty-Three.

One single photograph of Keeven Robinson signed by Terrill Tureaud (Filed
under JPSO item: E-13811-18) logged as evidence in the Homicide Evidence Book
number "3", on page 094. Exhibit: Forty-Four.

One 24® Judicial Court search warrant and return authored by Detective Roniger
and signed by Criminal Commissioner Patricia Joyce authorizing the search of a
black 2012 Mitsubishi Outlander. Exhibit: Forty-Five.

One 24" Judicial Court search warrant and return authored by Detective Roniger
and signed by Criminal Commissioner Paul Schneider authorizing the search of
a Samsung flip phone. Exhibit: Forty-Six.

One 24" Judicial Court search warrant and return authored by Detective Roniger
and signed by Criminal Commissioner Paul Schneider authorizing the search of
a Samsung, model: SMP-M930BST. Exhibit: Forty-Seven.

One 24% Judicial Court search warrant and return authored by Detective Roniger
and signed by Criminal Commissioner Paul Schneider authorizing the search of
a white Apple iPhone. Exhibit: Forty-Eight.

One 24 Judicial Court search warrant and return authored by Sergeant Gai and
signed by Criminal Commissioner Patricia Joyce authorizing the search of a
white Samsung cellular phone. Exhibit: Forty-Nine.

One 24% Judicial Court search warrant and return authored by Sergeant Gai and
signed by Criminal Commissioner Patricia Joyce authorizing the search of 11
Labarre Place, Metairie, Louisiana. Exhibit: Fifty.

One 24% Judicial Court search warrant and return authored by Sergeant Gai and
signed by Criminal Commissioner Paul Schneider authorizing the search of 1514
Jefferson Highway, Jefferson (Ochsner Hospital). Exhibit: Fifty-One.

One 24 Judicial Court search warrant and return authored by Detective Buttone
and signed by Criminal Commissioner Paul Schneider authorizing the search of
4201 Houma Boulevard, Metairie, Louisiana (East Jefferson General Hospital)
Exhibit: Fifty-Two.

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lefferson Parish Sheritt's Office
E-08492-18

Continuation

One 24% Judicial Court search warrant and return authored by Sergeant Gai and
signed by Criminal Commissioner Patricia Joyce authorizing the search of 111
North Causeway Boulevard, Metairie, Louisiana (Daughters of Charity Health
Center). Exhibit: Fifty-Three.

One 41% Judicial Court search warrant and return authored by Officer Bush and
signed by Judge Harry Cantrell authorizing the search of 1401 Foucher Street,
New Orleans, Louisiana (Touro Infirmary Hospital). Exhibit: Fifty-Four.

One 41% Judicial Court search warrant and return authored by JPSO Detective
William Whittington (GPFTF) and signed by Judge Harry Cantrell authorizing
the scorch iT Exhibiec Fiy-Five

One 24 Judicial Court subpoena duces tecum authored by Sergeant Gai and
signed by Criminal Commissioner Paul Schneider authorizing the release of
medical records for Keeven Robinson from Ochsner Hospital. Exhibit: Fifty-Six.

One 24" Judicial Court subpoena duces tecum authored by Sergeant Gai and
signed by Criminal Commissioner Paul Schneider authorizing the release of
medical records for Keeven Robinson from Medicaid Office. Exhibit: Fifty-
Seven.

One 24 Judicial Court subpoena duces tecum authored by Detective Dufrene
and signed by Criminal Commissioner Paul Schneider authorizing the release of
prescription records for Keeven Robinson. Exhibit: Fifty-Eight.

One Grand Isle Police Department incident report filed by Officer T. Gerhauser
(item number: D-04059-18). Exhibit: Fifty-Nine.

One Jefferson Parish Sheriff's Office ARMMS initial incident report filed by Dep.
C. Himel (item number: G-19091-14). Exhibit: Sixty.

One Jefferson Parish Sheriff's Office ARMMS supplemental report filed by Dep.
M. Schmidt (item number: G-19091-14). Exhibit: Sixty-One.

One Jefferson Parish Sheriff's Office ARMMS initial incident report filed by Dep.
S. Pellegrino (item number: D-07162-18). Exhibit: Sixty-Two.

One Jefferson Parish Sheriff's Office ARMMS supplemental incident report filed
by Det. J. Falcon (item number: D-07162-18). Exhibit: Sixty-Three.

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Jefferson Parish Sheriff's Office
E-08492-18
Continuation

One Jefferson Parish Sheriff's Office ARMMS initial incident report filed by Set. J.
Waguespack (item number: E-08426-18). Exhibit: Sixty-Four.

One Jefferson Parish Sheriff's Office ARMMS initial incident report filed by Sgt.
T. Gai (item number: E-13811-18). Exhibit: Sixty-Five.

One New Orleans Police Department initial incident report filed by JPSO Det.
Whittington (item number: E-12254-18). Exhibit: Sixty-Six.

One New Orleans Police Department initial incident report filed by Ofc. J.
Adams (item number: F-14677-18). Exhibit: Sixty-Seven.

One Jefferson Parish Sheriff's Office scene sketch drafted by Det. Donald
Zanotelli. Exhibit: Sixty-Eight.

One Jefferson Parish Sheriff's Office traffic diagram drafted by Dep. M. Ducote.
Exhibit: Sixty-Nine.

One ATF trace report. Exhibit: Seventy.

Jefferson Parish Sheriff's Office rights of arrestee or suspect form signed by Det.
Bordelon. Exhibit: Seventy-One.

Jefferson Parish Sheriff's Office rights of arrestee or suspect form signed by Det.
Spadoni. Exhibit: Seventy-Two.

Jefferson Parish Sheriff's Office rights of arrestee or suspect form signed by Det.
Brister. Exhibit: Seventy-Three.

Jefferson Parish Sheriff's Office rights of arrestee or suspect form signed by Det.
Lowe. Exhibit: Seventy-Four.

Jefferson Parish Sheriff's Office chain of custody form signed by Det. J. Lincoln.
Exhibit: Seventy-Five.

Jefferson Parish Sheriff's Office crime scene log form signed by Dep. M.
Thompson. Exhibit: Seventy-Six.

Jefferson Parish Sheriff's Office Crime Laboratory chain of custody. Exhibit:
Seventy-Seven.

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Jefferson Parish Sheriff's Office
E-08492-18
Continuation
Jefferson Parish Sheriff's Office Crime Laboratory physical evidence list. Exhibit:
Seventy-Eight.

Jefferson Parish Sheriff's Office Crime Laboratory DNA report. Exhibit: Seventy-
Nine.

Jefferson Parish Sheriff's Office Crime Laboratory controlled substance analysis
report. Exhibit: Eighty.

Jefferson Parish Sheriff's Office Communications Division detailed history of
EMS event (180026810). Exhibit: Eighty-One.

Jefferson Parish Sheriff's Office Communications Division detailed history of
police event (J181300259). Exhibit: Eighty-Two.

Jefferson Parish Sheriff's Office Communications Division detailed history of
police event (J181300276}. Exhibit: Eighty-Three.

Jefferson Parish Sheriff's Office Communications Division detailed history of
police event (J181300325). Exhibit: Eighty-Four.

Transcribed statement of Det. Lowe. Exhibit: Eighty-Five.
Transcribed statement of Det. Bordelon. Exhibit: Eighty-Six.
Transcribed statement of Det. Spadoni. Exhibit: Eighty-Seven.
Transcribed statement of Det. Brister. Exhibit: Eighty-Eight.
Transcribed statement of Det. Guidry. Exhibit: Eighty-Nine.
Transcribed statement of Det. Whittington. Exhibit: Ninety.
Transcribed statement of Det. Whittington. Exhibit: Ninety-One.
Transcribed statement of Sgt. Waguesapck. Exhibit: Ninety-Two.
Transcribed statement of Sgt. Minnis. Exhibit: Ninety-Three.
Transcribed statement of Lt. Monnerjahn. Exhibit: Ninety-Four.

Transcribed statement of EMT Tate. Exhibit: Ninety-Five.

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lefferson Parish Sheriff's Office
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Transcribed statement of EMT Jackson. Exhibit: Ninety-Six.

Transcribed statement of EMT Hill. Exhibit: Ninety-Seven.

Transcribed statement of EMT Wilkerson. Exhibit: Ninety-Eight.
Transcribed statement of EMT Ortiz. Exhibit: Ninety-Nine.

Transcribed statement of EMT Dardar, Exhibit: One Hundred.
Transcribed statement of Nancy Brown. Exhibit: One Hundred-One.
Transcribed statement of Scott Krause. Exhibit: One Hundred-Two.
Transcribed statement of Natallia Phelan. Exhibit: One Hundred-Three.

Louisiana Office of Motor Vehicle printout 2007 Toyota Tundra. Exhibit: One
Hundred-Four.

Louisiana Office of Motor Vehicle printout 2012 Chevrolet Impala. Exhibit: One
Hundred-Five.

Louisiana Office of Motor Vehicle printout 2015 Dodge Charger. Exhibit: One
Hundred-Six.

Louisiana Office of Motor Vehicle printout 2017 Toyota Camry. Exhibit: One
Hundred-Seven.

Louisiana Office of Motor Vehicle printout 2017 Toyota Rav4. Exhibit: One
Hundred-Eight.

Louisiana Office of Motor Vehicle printout 2012 Mitsubishi Outlander. Exhibit:
One Hundred-Nine.

BOSS system printout for suspect vehicle. Exhibit: One Hundred-Ten.

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Synopsis:

Pursuant to the in-custody death of Keeven Robinson on May 10, 2018, the
Homicide Section assumed investigative responsibility, as per protocol within the
Jefferson Parish Sheriff's Office. In the earliest stage of this investigation, both the
Louisiana State Police and the Federal Bureau of Investigation were presented with the
option of full participation. Both agencies opted to review the investigative findings
upon completion. Of note, in the immediate aftermath of the video interviews with the
four involved detectives, representatives from the Louisiana State Police reviewed said
interviews while the detectives remained separated pending potential additional
questioning relative to the facts and circumstances culminating in Robinson's death.
The Louisiana State Police representatives neither requested nor recommended further

questioning of the detectives.

The totality of investigative findings and rationale for said findings are
addressed below. Said findings, in the form of the case file in its entirety, was
forwarded to the Louisiana State Police and the Federal Bureau of Investigation for

review.

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Narrative:

On Thursday, May 10, 2018 at approximately 10:43 a.m. members of the Jefferson
Parish Sheriff's Office Homicide Section were summoned to the scene of a police
incident at 11 Labarre Place, Jefferson Louisiana, where detectives assigned to the
Jefferson Parish Sheriff's Office Narcotics Division were involved in a vehicle pursuit,
which led to a collision, which led to a foot pursuit and subsequent physical altercation
with Keeven "Max" Robinson (black / male, dob: JM. Robinson went into
cardiac arrest following the altercation and was transported to Ochsner Hospital (1514
Jefferson Highway, Metairie, Louisiana) for requisite treatment. Robinson was later

pronounced deceased.

Jefferson Parish Sheriffs Office Homicide Sergeant Thomas Gai, along with
Detectives William Roniger, Harold Wischan, Jean Lincoln, Kurt Zeagler, Anthony
Buttone, and Kristian Fricke responded to the area and assumed responsibility for
investigating the use of force deployed by the arresting officers as well as the manner
death. Sergeant Gai was designated as the primary case officer and assumed overall

investigative responsibilities.

In addition to JPSO Homicide personnel, JPSO Crime Scene Sergeant Marlo
Bruno responded to the location and was tasked with documenting the scene with both
general and specific photographs. Additionally, Sergeant Bruno was tasked with

collecting and securing any articles of evidence deemed pertinent to the investigation.

JPSO Traffic Lieutenant George Gutierrez and Deputy Marc Ducote also
responded to the location to assist investigators with the scene investigation relative to
the collision, Deputy Ducote was tasked with drafting a scene diagram, which
documents the final resting position of the vehicles involved in the collision, as well as

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any other evidence related to the collision. Deputy Ducate's scene diagram is attached

and made part of the investigative file.

At the direction of Sergeant Gai, Detectives Buttone and Wischan were tasked
with responding to Ochsner Hospital Main Campus Jefferson Highway (1514 Jefferson
Highway, Jefferson, Louisiana) to search for any potential witnesses and to inspect
Robinson's remains for any obvious signs of trauma. Detectives Roniger, Lincoln,
Zeagler, Fricke, along with Sergeant Gai responded to the scene. In addition to
homicide personnel, Captain Kevin Balser, the JPSO Persons Crime Commander, and
Deputy Chief Dax Russo, the JPSO Criminal Investigations Bureau Commander, also
responded to the scene.

Detectives Buttone and Wischan arrived at Ochsner Hospital at 11:29 a.m.
Detectives Buttone and Wischan were advised by medical personnel that Robinson
arrived at the hospital in cardiac arrest and was unable to be revived. Robinson was
declared deceased at 11:15 a.m. by Doctor R. Cauchan. Jefferson Parish Coroner's Office
Investigator Cory Rodivich responded to the Ochsner Hospital, upon notification of
Robinson's death, and arrived at 12:11 p.m. Investigator Rodivich conducted a
preliminary external examination of Robinson's remains. Robinson was clad in a
hospital gown lying in a supine position on a medical bed. Grass and dirt was present
on Robinson's legs and head, Grass and dirt was also present on the bed Robinson was
laying in. Robinson was also intubated and retained various articles of medical
equipment on his body. Investigator Rodivich noted bruising and swelling to the left
side of Robinson's face and his left eye in addition to swelling to the rear of Robinson's
head and small abrasions to the decedent's hands and wrists. Robinson also sustained
bruising on his chest, which was consistent with the use of the CPR Lucas machine
administered by East Jefferson EMS Paramedics. Investigator Rodivich did not notice
any evidence, which would provide insight as to Robinson's cause of death. JPSO

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Crime Scene Technician Deputy Chantelle Landeche responded to the hospital at the

request of Detectives Wischan and Buttone. Deputy Landeche obtained both general
and specific photographs of Robinson's remains and his injuries. Deputy Landeche
seized Robinson's clothes, which were removed by medical personnel. Robinson's
clothes were logged at the JPSO Crime Laboratory. Robinson's remains were ultimately
transported to the Jefferson Parish Forensic Center pending autopsy, which was
scheduled to be conducted on Saturday, May 12, 2018.

Contemporaneously, Homicide Detectives Roniger and Lincoln were first to
arrive at the scene and were advised by on scene JPSO Narcotics supervisors that JPSO
Narcotics Detectives Gary Bordelon, David Lowe, Jason Spadoni, Justin Brister, Thorin
Guidry, along with Sergeant Joseph Waguespack attempted to make an investigatory
stop on a black Mitsubishi Outlander at the Shell Station located at 2401 Jefferson
Highway, Jefferson, Louisiana. Keeven Robinson, who was operating the Mitsubishi
Outlander, was able to flee from the officers in his vehicle following an unsuccessful
stop. During the pursuit, Robinson was involved in a collision with Detective Spadoni,
who was operating a black Toyota Rav 4. Subsequent to the vehicle pursuit, Robinson
fled from his vehicle and Detectives Bordelon, Spadoni, Lowe and Brister gave chase on
foot. After a lengthy foot pursuit, spanning several streets included jumping fences and
a subsequent lengthy physical altercation, Robinson was apprehended in the rear yard
of 11 Labarre Place. All detectives involved in the incident were instructed to relocate
from the scene to the Jefferson Parish Sheriff's Office Criminal Investigations Bureau.
Although the detectives did not leave all at the same time, they all ultimately arrived at
the Criminal Investigations Bureau to provide statements. They were all separated

pending interviews with homicide detectives.

JPSO Homicide Detectives viewed the crime scene and noticed it was cordoned

off with crime scene tape. Near the intersection of Labarre Place and Lurline Drive,

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investigators noticed several unmarked JPSO police vehicles, in addition to a black 2012

Mitsubishi Outlander, bearing Louisiana temp tag 18839452 {expiration 06-18-2018).
Closer inspection of the temporary tag revealed the numbers were obviously altered.
The vehicle was positioned on Labarre Place on the north side of the street. The vehicle
appeared to have sustained severe damage to the passenger side door, as well as the
rear passenger side door. The Mitsubishi Outlander was positioned with the front of
the vehicle facing east. The front two tires were positioned in the roadway with the
rear two tires positioned on the sidewalk. The driver's side door was open. Sergeant
Gai along with Detective Fricke conducted a visual inspection of the interior of the
vehicle and noticed in plain view a black Springfield XD semi-automatic pistol resting
between the front seat and the bottom portion of the doorjamb. Investigators also
noticed a blue mesh backpack on the front seat as well as a white iPhone on the driver's
side floor board. It should be noted, during the course of the investigation, homicide
detectives were able to determine the Mitsubishi Outlander was occupied and operated
by Robinson prior to the foot pursuit and apprehension. Directly in front of Robinson's
vehicle, investigators noticed a black 2012 Chevrolet Impala pressed against the front
passenger side bumper. The Chevrolet Impala was identified as a JPSO unmarked
vehicle issued to Detective Lowe. Investigators noticed damage on Detective Lowe's
vehicle as well as Robinson's vehicle at the point of impact. The details related to this
damage will be discussed later in this report.

Investigators noticed Detective Spadoni's vehicle was positioned at the
intersection of Lurline Drive and Labarre Place with the front and rear driver's side tires
positioned on the south side of Lurline near the sidewalk. The front and rear passenger
side tires were resting in the roadway. Damage was present on the front passenger side
quarter panel and appeared to be moderate to severe. Detective Spadoni's vehicle was
identified as a black 2017 Toyota Rav 4 bearing Louisiana plate 805-BJT. Near Detective
Spadoni's vehicle, a broken stop sign / street sign was laying partially on the roadway

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detached from the ground. It appeared the sign was struck by Detective Spadoni's

vehicle and uprooted from its original position.

Also present near the intersection of Labarre Place and Lurline Drive was a silver
2015 Dodge Charger identified as a JPSO unmarked vehicle issued to Sergeant
Waguespack and a gray 2017 Toyota Camry issued to Detective Bordelon. Sergeant
Waguespack's vehicle also appeared to have sustained damage to the rear driver's side
bumper. This damage was sustained at the Shell Service Station. This information was
gleaned after investigators reviewed video surveillance footage obtained from the Shell
Station. The details of the video footage will be discussed later in this report.

Investigators also viewed the scene of the altercation, 11 Labarre Place. The
residence of 11 Labarre Place can most easily be described as white single story family
dwelling with the front of the residence facing east and located on the west side of
Labarre Place. The rear yard of the residence is fenced in by a combination of a chain
link fences and a six foot wooden fence. The north and south side borders were secured
with four foot chain link fence and the west side border was secured with a 6 foot
wooden fence. The rear yard of 11 Labarre also contained a rectangular shaped storage
shed. Investigators canvassed the yard and noticed a small amount of blood transfer on
top of the south side metal chain link fence close to the shed. The blood was marked as
evidence marker "A", Sergeant Bruno photographed the evidence and also obtained a

swab for DNA comparison.

Investigators also noticed damage to the gate, which led to the rear yard of 7
Labarre Place, Metairie, LA. The locking device on the gate was pulled off and was
laying on the ground. During the course of the investigation, Sergeant Gai learned the
damage was caused by Detective Lowe as he was attempting to gain entry into the rear
yard while seeking Robinson's whereabouts.

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In the front driveway area of 606 Lurline Drive, Sergeant Gai was made aware
that patrol deputies located a gold wrist watch, which presumably was lost by
Robinson as he fled from officers. This watch was confirmed not to belong to any
detectives. The watch was labeled as alphabet marker "B", photographed and seized by

Sergeant Bruno.

Several items confiscated from Keeven Robinson, at the time of his arrest, were
displayed by Sergeant Bruno on a table located under the carport of 11 Labarre Place.
It should be noted these items were photographed and submitted to the JPSO Crime
Laboratory for analysis. The results of the analysis are discussed later in this report.
The items are listed as follows:

« One clear bag containing a green vegetable matter.

* One clear bag containing a white powdered substance.

* Thirty clear bags containing a light brown powdered substance.
* One pharmacy discount card.

* Louisiana driver's license in the name of Keeven L. Robinson.

" IHG rewards card.

= One pack of Backwoods Honey Cigars.

* Yellow necklace with two pendants.

* Carmex Lip Balm.

« Glass vial marked Red Intense containing an unknown liquid.

Sergeant Bruno obtained photographs of Detective Spadoni before he left the
scene and relocate to the Criminal Investigations Bureau. Detective Spadoni sustained
minor cuts to his left forearm and right elbow as he negotiated over several fences in the
neighborhood. Detective Spadoni was clad ina light blue collared shirt and blue jeans.

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Detective Spadoni's pants also sustained evidence of transfer from grass on his knee

areas and shin areas. Detective Spadoni's JPSO gold detective badge was clearly
displayed on his right hip closest to his departmental issued Glock 9mm handgun.

As the scene investigation was concluding, the Mitsubishi Outlander was towed
by Moon's Towing Company from the scene to the Jefferson Parish Sheriff's Office
Crime Laboratory located at 1233 Westbank Expressway, pending the issuance of a
search and seizure warrant. In addition to the Mitsubishi Outlander, Detective
Spadoni's vehicle was deemed inoperable and towed as well. Detective Spadoni's
vehicle was towed to the JPSO East Bank Motor Pool.

First District Patrol Deputy Melvin Thompson compiled a crime scene log of all
law enforcement personnel who entered into the cordoned off area. This log is attached
and made part of the investigative file.

After the scene was processed, Sergeant Gai, along with Detectives Lincoln and
Buttone, relocated to the JPSO Criminal Investigations Bureau to conduct interviews
with the detectives involved in the incident.

Detective Zeagler relocated to the Shell Service Station (2401 Jefferson Highway)
and inspected the area for any evidence. Detective Zeagler noticed the establishment
possessed surveillance equipment. Detective Zeagler met with Dilcia Gomez, an
employee of the Shell Service Station, and requested permission to obtain a copy of the
video footage from the business. Gomez agreed and Detective Zeagler downloaded a
copy of the footage and verified a successful download. Detective Zeagler compared
the time and date on the video to his cellular device and noted the date to be correct;
however, the time appeared to be 1 minute and 30 seconds fast. Detective Zeagler was
able to store the video on an external hard drive, which was later reviewed by members

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of the JPSO Homicide Section at the Criminal Investigations Bureau. Detective Zeagler

also inspected the parking lot area and noticed shards of broken plastic on the ground.
The plastic was consistent with clear red plastic used to cover brake lights on vehicles,
Based on the damage from Sergeant Waguespack's vehicle, investigators believe the
plastic was left after the collision in the parking lot with Robinson's vehicle. The video
was later copied onto a JPSO evidence grade DVD-R and logged as evidence with the
JPSO Property and Evidence Division.

Detective Zeagler, along with other members of the JPSO Homicide Section,
conducted a canvass of the neighborhood in the attempt to locate any potential
witnesses or viable video surveillance equipment. Detective Zeagler noticed a video
surveillance camera on the residence of 16 Labarre Place. The residence of 16 Labarre
Place is located on the east side of the street and the camera faces a southeast direction.
Detective Zeagler was able to make contact with the homeowner, Alfred Arocho, who
consented to Zeagler obtaining a copy of the video footage from his DVR (Digital Video
Recorder) system. Detective Zeagler compared the time and date on the video to his
cellular device and noted the date to be correct; however, the time appeared to be 7
minutes fast. Detective Zeagler was able to store the video on an external hard drive,
which was later reviewed by members of the JPSO Homicide Section at the Criminal
Investigation Bureau. The video was later copied onto a JPSO evidence grade DVD-R
and logged as evidence with the JPSO Property and Evidence Division.

While at the Investigations Bureau, Sergeant Gai learned that Jefferson Parish
Sheriff's Office Detective William Whittington, assigned to the Gretna Police Major
Crimes Task Force, assisted with the narcotics investigation by obtaining a search and
seizure warrant for Robinson's primary residence located > GES ae eae

eee ears ay The warrant was signed at 12:22 p.m. by Orleans Parish Magistrate
Judge Harry E. Cantrell. Detective Whittington possess a duel police commission

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issued by the New Orleans Police Department. The search and seizure warrant was

executed at the same time it was signed by Gretna Police Sergeant Scott Zemlik, along
with Detectives Joey Disler, Craig Bonnette, Randall Kuhn and Russell Lloyd. During
the search, the detectives located and seized $1,777.00 from Robinson's bedroom.
Several photographs of the residence were obtained during the execution of the search
warrant. Detective Whittington was provided a copy of the photographs and the search
warrant, which are retained with the investigative file.

While on scene, Captain Balser noticed several video surveillance cameras on the
residence of 9 Labarre Place. Captain Balser was able to make contact with the
homeowner via telephone, identified as Patrick Bain. Mr. Bain indicated the cameras
were in good operating order; however, the DVR system was malfunctioning and
would not have any video of the incident. Mr. Bain also advised he was not at the

residence at the ime of the incident,

While at the Investigations Bureau, Sergeant Gai, along with Detective Zeagler,
reviewed the video surveillance footage from the Shell Service Station. The video
depicted the following events.

Shell Station Camera 6 exterior camera

* 10:07:48 a.m. (converted time 10:06:17 a.m. - 7 minutes 48 seconds into video) a
Black Mitsubishi Outlander, occupied by Robinson, arrived at the location.

* 10:08 (converted time 10:06:30 a.m.) Robinson exits Black Mitsubishi Outlander
and entered the store,

* 10:08:22 a.m. (converted time 10:06:52 a.m. - 8 minutes 22 seconds into video)

Robinson exited the store.

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perimeter. At some point, Sergeant Waguespack was made aware that Robinson was

apprehended in the rear yard of 11 Labarre Place. Shortly thereafter, Sergeant
Waguespack was notified by Detective Whittington that Robinson had gone
unconscious and was unresponsive, Sergeant Waguespack advised he and other
Detectives began CPR until EMS arrived on scene. Sergeant Waguespack indicated he
was clad in a ballistic vest with sheriff logos identifying him as a police officer,

Sergeant Waguespack's statement was memorialized by an audio digital
recording and obtained at the Jefferson Parish Sheriff's Office Criminal Investigations
Bureau. The statement was started on May 10, 2018, at 3:42 p.m. and ended on the same
day at 3:52 p.m. For any specific details related to Sergeant Waguespack's statement,
refer to the transcription, which is attached and made part of the investigative file,

The first detective interviewed, who was directly involved in the physical
altercation with Robinson, was Detective Jason Spadoni. This interview was conducted
by Detective Lincoln, The following is a synopsis of the events, which transpired on the
morning of May 10, 2018.

Detective Spadoni indicated in his statement that members of his narcotics group
and he developed Keeven Robinson as a suspect related to trafficking and selling illicit
narcotics in the Parish of Jefferson over the span of several weeks, Detective Spadoni
identified himself as the primary case officer in the narcotics investigation involving
Robinson, Detective Spadoni advised during the course of the investigation they
discovered that Robinson would normally spend the afternoon hours at his residence,
cated 2 I Dine the moming hous,
Robinson would leave his residence and travel to 1604 South Arnoult Road, Metairie,
Louisiana, where he would sell street level narcotics. Detective Spadoni indicated, on

the day in question, he and several other members of his narcotics group set up

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surveillance on Robinson's residence in New Orleans. Robinson entered a black

Mitsubishi Outlander and left the location headed for the Parish of Jefferson. Robinson
entered the Shell Service Station on Jefferson Highway. Detective Spadoni indicated he
elected to travel down Labarre Place. At some point, the suspect fled from the Shell
Station and traveled down Labarre Place. Detective Spadoni was not a witness to the
events which transpired at the Shell Station but was aware the events, which transpired
because he was monitoring his departmental handheld radio. Detective Spadoni
indicated at some point, he collided with Robinson's vehicle. Robinson fled from the
vehicle and Detective Spadoni gave chase hopping several fences, Ultimately, Detective
Spadoni, along with Detective Erister, was able to stop Robinson from fleeing in the rear
yard of 11 Labarre Place. Detective Spadoni advised that Robinson was given verbal
commands to surrender, but he refused. Detectives attempted to arrest Robinson;
however, he began to physically resist. Detective Spadoni, along with Detective Brister,
was able to bring Robinson to the ground. Robinson continued to resist and placed his
hand near his waistband, which was concerning to the arresting officers. During the
altercation, Detective Spadoni was joined by Detectives Lowe and Bordelon. Detective
Spadoni advised the arresting officers struggled with Robinson for approximately three
minutes. Robinson was eventually placed into handcuffs. Detective Spadoni advised
Robinson sustained injuries during the altercation and EMS was requested to the
location to tend to Robinson. Shortly thereafter, it was discovered that Robinson was
not responding and EMS was requested to respond to the location with priority.
Detective Spadoni remembered during the foot pursuit he noticed a black female
yelling to Robinson as he was fleeing from officers. The female yelled out to Robinson
and told him to stop running and reminded him that he had asthma. Detective Spadoni
mentioned that he sustained injuries from hopping over fences as already discussed in
this investigative report,

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Detective Spadoni's statement was memorialized by an audio digital recording

and obtained at the Jefferson Parish Sheriff's Office Criminal Investigations Bureau.
The statement was started on May 10, 2018, at 3:56 p.m. and ended on the same day at
4:16 p.m. For any specific details related to Detective Spadoni's statement, refer to the
transcription, which is attached and made part of the investigative file.

The second detective interviewed, who was directly involved in the physical
altercation with Robinson, was Detective Justin Brister. This interview was conducted
by Sergeant Gai. The following is a synopsis of the events, which transpired on the
morning of May 10, 2018.

Detective Brister advised he was an assisting officer regarding the investigation
of Keveen Robinson, which extended over several weeks. On the day in question,
Detective Brister was tasked with surveilling the area of Hollygrove and Earhart
Boulevard while operating his gray unmarked JPSO Ford F-150 pickup truck. Detective
Brister was tasked with following Robinson in his vehicle if he passed the location.
Detective Brister advised Robinson did, in fact, pass the location and he began to assist
in a rolling surveillance of Robinson's vehicle. Detective Brister advised all of the
detectives involved in the incident were communicating via their JPSO handheld
portable radios on channel "Narcotics 3". During the rolling surveillance, Robinson
proceeded to the Deckbar exit from Earhart Expressway and the surveillance continued
onto Jefferson Highway. Detective Brister advised Detective Guidry got impeded by
the red light at Labarre Road, so he decided to turn on Cliff Street to avoid the traffic
control device. As Detective Brister traveled down Cliff Street, he believed he noticed
the suspect vehicle and proceeded to Madelon Street to intercept. Prior to catching up
with the vehicle, Detective Brister heard over his portable radio that the suspect vehicle
had pulled into the Shell Station on Jefferson Highway at Labarre Place. Detective
Brister immediately redirected and began towards the Shell Station. Before Detective

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weapon, which was concealed near his waistband. As the two detectives were

attempting to place Robinson into handcuffs, they were joined by Detectives Lowe and
Bordelon. Detective Brister advised he deployed several knee strikes to the left side of
Robinson's body as he attempted to get up several times during the altercation. After a
lengthy physical altercation, the arresting officers were able to gain control of
Robinson's arms and placed him into handcuffs. After Robinson was handcuffed,
Detective Brister noted all four detectives were physically exhausted. In fact, Detective
Brister indicated he needed to be transported to the hospital and treated for exhaustion,
Detective Brister indicated at some point Robinson went unresponsive and stopped
breathing. Detective Brister indicated he began CPR (Cardiopulmonary Resuscitation)
and requested EMS to the location to tend to Robinson. Detective Brister indicated
Detective Guidry assisted with CPR prior to the arrival of EMS. Detective Brister noted
in his statement that after Robinson was handcuffed he immediately requested EMS to
the location to tend to Robinson. Detective Brister was clad in blue jeans and a black
ballistic vest, which displayed "SHERIFE" patches. Detective Brister was also armed
with his departmental issued semiautomatic Glock handgun, which was located next to
his gold detective badge on his hip.

Detective Brister's statement was memorialized by an audio digital recording
and obtained at the Jefferson Parish Sheriff's Office Criminal Investigations Bureau.
The statement was started on May 10, 2018, at 4:28 p.m. and ended on the same day at
4:54 p.m. For any specific details related to Detective Brister's statement, refer to the
transcription, which is attached and made part of the investigative file.

The third detective interviewed, who was directly involved in the physical
altercation with Robinson, was Detective Gary Bordelon. This interview was conducted
by Detective Buttone. The following is a synopsis of the events, which transpired on the
morning of May 10, 2018.

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Detective Bordelon corroborated information provided by Detectives Spadoni
and Brister relative to the narcotics investigation regarding Keeven Robinson. Detective
Bordelon advised, on the day in question, he was tasked with surveilling Robinson's
vehicle. Detective Bordelon explained his narcotics group was not only surveilling
Robinson's vehicle, but was tracking his cellular phone as well with authorization from
a search warrant. Detective Bordelon indicated a decision was made to conduct an
investigatory stop at the Shell Service Station on Jefferson Highway. Detective
Bordelon advised he was not ina position to assist with the stop at the Shell, but heard
the radio traffic being broadcast. Detective Bordelon immediately rushed to the area
when he was made aware that Robinson was able to evade police officers tasked with
conducting the stop. Detective Bordelon then heard a report on his portable radio that
Detective Spadoni had collided with the suspect vehicle and Robinson had exited his
vehicle fleeing on foot. Detective Bordelon responded the area and noticed Detective
Spadoni pursuing Robinson across Lurline Drive. After a lengthy foot pursuit,
Robinson was caught in the rear yard of a residence on Labarre Place. Detective
Bordelon joined his fellow detectives and assisted with apprehending Robinson.
According to Detective Bordelon, Robinson used physical force to resist his arrest and
was non-compliant. Detective Bordelon indicated, as he entered the rear yard of the
residence, he noticed Robinson attempting to strike Detective Brister with what he
believed to be right hand. Robinson was brought to the ground where he placed his
hand near his waistband. Detective Bordelon advised this action was of great concern,
based upon his knowledge that Robison has known to carry a firearm. Detective
Bordelon explained that during the extensive narcotics investigation, his group was
provided with information from a confidential informant that Robison was armed
during several drug transactions. A review of Robinson's arrest history revealed
humerous arrests for weapons and narcotics charges. Detective Bordelon admitted he
delivered defensive counter strikes to the left side of Robinson's face with his elbow as

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he was resisting arrest. Ultimately, Detectives Bordelon, Spadoni, Brister and Lowe

were able to secure Robinson in handcuffs. After the altercation, all of the arresting
officers were physically out of breath, according to Detective Bordelon. Detective
Bordelon indicated, shortly after Robinson was handcuffed, Detective Whittington
entered the rear yard and attempted to conduct an interview with Robinson to ascertain
his residential address in the City of New Orleans. Detective Whittington soon noticed
that Robinson was not breathing. At that juncture, Detective Whittington requested
EMS respond to the location as a priority call. Detective Bordelon was clad in blue jeans
and colored short sleeve shirt. Detective Bordelon's gold JPSO detective badge was
displayed on his belt next to his departmental issued Glock semiautomatic handgun.

Detective Bordelon's statement was memorialized by an audio digital recording
and obtained at the Jefferson Parish Sheriff's Office Criminal Investigations Bureau.
The statement was started on May 10, 2018, at 4:33 p.m. and ended on the same day at
4:44 p.m. For any specific details related to Detective Bordelon's statement, refer to the
transcription, which is attached and made part of the investigative file.

Detective Lowe was the last detective interviewed, who was directly involved
with the physical altercation relative to the arrest of Keeven Robinson. This interview
was conducted by Detective Lincoln. The following is a synopsis of the events, which
transpired on the morning of May 10, 2018.

Detective Lowe was able to provide Detective Lincoln with information relative
to Robinson's arrest history as well as the narcotics investigation conducted by his
group. Detective Lowe was tasked with conducting a rolling surveillance on
Robinson's vehicle once it left his residence in New Orleans, Detective Lowe advised
his group followed Robinson into Jefferson Parish and noticed he pulled into the Shell
Station located on Jefferson Highway. Detective Lowe advised Sergeant Waguespack

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made the decision to box Robinson's vehicle in as he was parked in front of the service

station, Detective Lowe pulled directly behind Robison's vehicle. Detective Lowe
indicated Robinson was able to evade the box and fled from officers at a high rate of
speed toward Labarre Place. According to Detective Lowe, he witnessed Robinson's
vehicle collided with Detective Spadoni and then noticed both vehicles spin out of
control. At that juncture, Detective Lowe placed his vehicle (2012 Chevrolet Impala) to
the front of Robinson's vehicle. Robinson exited his vehicle and fled from officers.
Detective Lowe attempted to set up a perimeter while assisting detectives who gave
chase. Detective Lowe advised Robinson fled toward Lurline and then back toward
Labarre Place. Detective Lowe joined the pursuit and noticed Detective Brister and
Spadoni struggling with Robinson in the rear yard on Labarre Place. According to
Detective Lowe, Detective Bordelon arrived in the rear yard to assist with subduing
Robinson just before he did. As Detective Lowe entered the yard, he noticed Robinson
on the ground in a prone position with his hand under his body near his waistband.
Detective Lowe advised Robinson was attempting to get up from the ground so he
elected to attempt to control the front of his body to keep Robinson on the ground so he
could be handcuffed. Detective Lowe described striking Robinson in the head several
times to stop him from trying to get up. Ultimately, Robinson was handcuffed and
EMS was requested to the location. Detective Lowe corroborated the fact that all of the
detectives were out of breath. Detective Lowe provided similar accounts regarding the
aftermath of the altercation as his fellow detectives did. Detective Lowe was clad ina
black ballistic vest and downed Velcro patches with the police identifiers. The word
"SHERIFF" was clearly displayed on his vest, Detective Lowe also displayed his gold
JPSO detective badge on his belt next to his departmental issued Glock semiautomatic
handgun.

Detective Lowe's statement was memorialized by an audio digital recording and
obtained at the Jefferson Parish Sheriff's Office Criminal Investigations Bureau. The

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advised her son has asthma and lung problems, and requested to speak with a

supervisor. The comments indicated that the complainant was very irate. For any
further details refer to the police event printout, which is attached and made part of the

investigative file.

Sergeant Gai also reviewed the detailed history of the EMS event printout. On
May 10, 2018 at 10:13 a.m. Paramedic Tammy Dardar (EJ-301) was dispatched to the
location and subsequently arrived on scene at 10:31 am. At 10:20 a.m. Paramedics
Joshua Hill and Kimberly Wilkerson (EJ-50) were also dispatched to the location per
request by JPSO to check on police officers. Paramedics Hill and Wilkerson arrived on
scene at 10:28 a.m. Paramedic Michael Ortiz (EJ-80) was also dispatched to the location
to assist at 10:24 a.m. Paramedic Ortiz arrived on scene at 10:41 am. Paramedic Alicia
Jackson (EJ-60) was also dispatched to assist at 10:44 a.m. Paramedic Jackson arrived on
scene at 10:50 a.m. According to the printout, at 10:46 a.m. Paramedic Dardar advised
they were working a code and were enroute to Ochsner Hospital Main Campus. For
any further details refer to the EMS event printout, which is attached and made part of
the investigative file.

Sergeant Gai reviewed Keeven Robinson's criminal history in an effort to
corroborate the information provided by JPSO detectives involved in the apprehension.
Robinson's first arrest was in April of 2003 and his last was in July of 2016. Robinson
was arrested on numerous occasions for crimes of violence, such as aggravated assault,
ageravated battery, illegal use of a weapon, domestic abuse / aggravated assault with a
dangerous weapon, home invasion, and attempted armed robbery. Robinson also had a
multitude of arrests for narcotic charges, such as crack possession, possession of
mariyuana, and distribution of marijuana. The majority of Robinson's arrests were for,
or in conjunction with weapons charges, such as illegal carrying of a firearm, possession

of a weapon while in the possession of a controlled dangerous substance, and felon in

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possession of a firearm. Robinson was on probation at the time of his arrest for felon in

possession of a firearm. Robinson was convicted for felon in possession of a firearm by
the Orleans Parish District Criminal Courts (Docket number: 0527635) on March 3, 2016.
Robinson was scheduled to complete the terms of his probation on March 3, 2021.
Agent Adolph Lopez, Louisiana Probation and Parole, monitored and managed

Robinson while he was on active probation.

After reviewing Robinson's criminal history, Sergeant Gai noted one arrest for
resisting an officer, which transpired on July 22, 2014. In this incident, Robinson was
also charged with hit and run, reckless operation of a motor vehicle, and agetavated
flight from an officer. The incident was documented under JPSO item number G-19091-
14,

Sergeant Gai reviewed the initial incident report and two additional
supplemental reports filed by Jefferson Parish Sheriff Office First District Patrol
Deputies Cory Himel and Monique Schmidt. The report indicates Keeven Robinson
fled from Deputy Himel as he attempted to make a lawful traffic stop. Robinson led
Deputy Himel on a high speed pursuit and refused to stop for the officer's signal.
Ultimately, Robinson fled from the vehicle and made good his escape. Robinson was
identified as the driver of the vehicle and Deputy Schmidt obtained an arrest warrant
for Robinson on July 22, 2014. Robinson was ultimately arrested and charged.
According to court records from the 24" Judicial District Court, Robinson was charged
with resisting an officer, but pled guilty to the amended charge of interfering with a
police officer on December 28, 2016. Robinson also pled to several traffic violations

associated with the incident.

On Friday, May 11, 2018, Sergeant Gai received information from Firearms
Examiner Alexis Rivera, assigned to the Jefferson Parish Sheriff's Office Crime

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Laboratory. Analyst Rivera indicated the .40 caliber XD firearm was test fired at the

JPSO Crime Laboratory and appeared to be in good working order. Analyst Rivera also
advised the firearm was entered into the Integrated Ballistics Identification System
(IBIS) to see if the firearm was used during the commission of any reported crimes. The
search failed to produce any IBIS hits.

On Saturday, May 12, 2018, at 7:00 a.m., Forensic Pathologist Van Vo M.D.
performed the forensic autopsy on the remains of Keeven Robinson. During the
autopsy, Doctor Vo discovered signs of trauma, specifically hemorrhaging on the soft
tissue area located on the left side of Robinson's neck. Doctor Vo also found the hyoid
bone to be dislocated. Based upon the preliminary results of the autopsy findings,
Lieutenant Donald Meunier commander of the Jefferson Parish Sheriff's Office
Homicide Section, was contacted by Doctor Gerry Cvitanovich, Coroner of Jefferson
Parish, at the conclusion of the autopsy. Doctor Cvitanovich advised Lieutenant
Meunier that Robinson died as a result of compressional asphyxia and, as such, his
cause of death would be ruled a homicide when their findings were submitted.

After the sheriff's office received information relative to the cause of death,
Sergeant Gai contacted Lieutenant Monnerjahn via telephone and requested all the
detectives involved in the incident report to the Criminal Investigations Bureau so
additional interviews could be conducted. At that juncture, investigators did not have
any explanation as it relates to the mechanism of injury. Based on the statements
provided by the detectives involved in the altercation with Robinson on May 10, 2018,
homicide detectives were unable to explain how Robinson sustained the injuries
discovered at autopsy. Furthermore, the narcotics detectives involved in the altercation
with Robinson were not questioned regarding an explanation of asphyxia or direct
neck trauma based on the investigator's lack of knowledge specifically related to the
injuries to Robinson's neck.

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Prior to conducting the interviews, Sergeant Gai and Lieutenant Meunier
consulted with Jefferson Parish Sheriff Joseph Lopinto. At Sheriff Lopinto's request,
investigators with the Louisiana State Police were asked to assist and review the
findings submitted by the Jefferson Parish Sheriff's Office Homicide Section relative to

the death investigation of Keeven Robinson.

Louisiana State Police Lieutenant Patrick Bradley, Sergeant Alan Arcana, Master
Trooper Sean McCaffery, Senior Trooper Gustave Bethea and Investigator Raymond
Hughes responded to the JPSO Criminal Investigations Bureau to review any
statements provided by JPSO detectives.

On the same day at 1:43 p.m. Detective Zeagler activated the audio and video
surveillance equipment within the homicide interview room. Detective Bordelon was
escorted into the room at 1:51 p.m. Sergeant Gai and Lieutenant Meunier entered the
room after Detective Bordelon and advised him of his Constitutional rights, as per
Miranda at 1:54 p.m. Sergeant Gai prepared a JPSO rights of arrestee or suspect form,
which was presented to Detective Bordelon, who reviewed the form and signed it in the
designated locations, indicating his desire to provide a statement without an attorney
present. The form was also signed by Sergeant Gai and Lieutenant Meunier. The
following is a general synopsis of the information provided by Detective Bordelon.

Detective Bordelon provided information relative to the narcotics investigation
involving Keeven Robinson. During the narcotics investigation, narcotics detectives
conducted research and learned Robinson had an extended history of violent crimes,
which included possession of firearms. Detective Bordelon further advised on the day
in question (May 10, 2018) he and several members of his narcotics group set up

surveillance on Keeven Robinson in the City of New Orleans. Robinson was occupying

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a black Mitsubishi Outlander. This action was prompted by an extended narcotics

investigation, which established Robinson as a drug trafficker. Members of Group "3"
followed Robinson into the Parish of Jefferson. Detective Bordelon advised he was not
present at the Shell Service Station when Sergeant Waguespack gave the command to
conduct an investigatory stop. Detective Bordelon heard the transmission on his
handheld radio that Robinson was able to evade the officers and fled the location. At
that juncture, Detective Bordelon moved in the area in the hopes of locating and
apprehending Robinson. Detective Bordelon indicated he noticed several officers
chasing Robinson on foot and elected to join the foot pursuit. Detective Bordelon
followed the foot pursuit into an unknown rear yard, where he found Detectives Brister
and Spadoni attempting to gain control of Robinson, who was physically resisting.
Detective Bordelon advised Detective Spadoni was near Robinson's back and was
attempting to restrain Robinson's legs. Detective Bordelon positioned himself on the
left side of Robinson to assist with gaining control of Robinson's arm. At some point,
Detective Bordelon struck Robinson on the left side of the head with an elbow strike in
an attempt to stop Robinson from getting up. Detective Bordelon also advised at some
point, Detective Lowe joined the fight and attempted to assist with the apprehension.
Detective Bordelon described a scenario where Robinson was in a prone positon during
the altercation and had his hands underneath his body near his waistband. Detective
Spadoni was able to secure Robinson in one handcuff and ultimately he was placed in
the second cuff. After the altercation, Detective Bordelon advised Detective
Whittington entered the back yard and attempted to illicit a response from Robinson
relative to his address. Robinson was unresponsive and Detective Whittington checked
Robinson for a pulse, which he was unable to find. At that point, several detectives
began CPR. Detective Bordelon denied using any type of chokehold. Detective
Bordelon also denied the use of any intermediate weapon, i.e. expandable baton, Tazer,
or OC spray. Detective Bordelon did indicate that during the struggle, Detective Lowe

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had his leg over Robinson neck. The interview with Detective Bordelon was concluded

at 2:13 p.m.

On the same day at 2:15 p.m. Detective Zeagler activated the audio and video
recording equipment within the homicide interview room. Detective Lowe was
escorted into the room at 2:16 p.m. Sergeant Gai and Lieutenant Meunier entered the
room after Detective Lowe and advised him of his Constitutional rights, as per Miranda
at 2:17 p.m. Sergeant Gai prepared a JPSO rights of arrestee of suspect form, which was
presented to Detective Lowe, who reviewed the form and signed it in the designated
locations, indicating his desire to provide a statement without an attorney present. The
form was also signed by Sergeant Gai and Lieutenant Meunier. The following is a
general synopsis of the information provided by Detective Lowe.

Detective Lowe corroborated the information Detective Bordelon provided
relative to the surveillance and prior narcotics investigation as well as his knowledge of
Robinson's prior criminal history. Detective Lowe advised he was an active participant
in the initial contact with Robinson at the Shell Service Station. During that encounter,
Detective Lowe entered the Dot's Diner parking lot located adjacent to the Shell Service
Station. Detective Lowe advised Robinson entered the store and when he exited the
store Robinson made visual contact with Detective Lowe and his vehicle. Based upon
that interaction, he believed Robinson suspected him of being a narcotics detective.
Detective Lowe closed the distance between himself and Robinson in an attempt to box
Robinson's vehicle in, which would require Sergeant Waguespack to position his
vehicle in front of Robinson's Mitsubishi Outlander; however, Detective Lowe noticed
that Sergeant Waguespack positioned his vehicle on the driver's side of the vehicle,
which left an avenue of escape. Robinson was able to flee the area and enter onto
Labarre Place. Detective Lowe advised he gave chase in his vehicle. As Robinson was
fleeing the area, Sergeant Waguespack's vehicle collided with Robinson's vehicle as he

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attempted to flee the area, Detective Lowe indicated, as Robinson was fleeing on

Labarre Place, Robinson collided with Detective Spadoni's vehicle, Robinson's vehicle
spun out of control and he fled from his vehicle on foot. Robinson led Detective Lowe
and other investigators on a foot pursuit throughout the neighborhood. During the foot
pursuit, Detective Lowe advised he had to break the lock on an unknown gate to
pursue Robinson. Detective Lowe repositioned himself to set up a perimeter. At that
juncture, Detective Lowe noticed Detective Spadoni and Brister struggling with
Robinson in the rear yard of a residence. Detective Lowe advised he entered the rear
yard and attempted to assist with the apprehension. Detective Lowe advised Robinson
was being brought to the ground by Detectives Brister and Spadoni. Detective Lowe
originally positioned himself on the right side of Robinson. At some point, Detective
Lowe repositioned himself near Robinson's head. Detective Lowe recalled Detective
Spadoni attempting to gain control of Robinson's arm, which was positioned
underneath his body. Detective Lowe indicated, based upon Robinson's criminal
history and his general experience as a police officer, he was very concerned about the
possibility of Robinson attempting to retrieve a weapon from his waistband. Detective
Lowe admitted to striking Robinson in his head area with an open palm strike in an
attempt to stop Robinson from resisting. Detective Lowe described having his knee and
leg positioned over Robinson neck applying pressure in an attempt to keep Robinson on
the ground. Detective Lowe also denied the use of any intermediate weapon, ie.
expandable baton, Tazer, or OC spray. Detective Lowe also denied the use of any choke
holds by the hands of any of the arresting detectives to include himself. Detective Lowe
provided some specific details relative to the positioning of his knee while it was
applied to Robinson neck. Detective Lowe advised he was using his knee to control the
movement of his head and to stop Robinson from attempting to get off the ground. At
some point, Detective Lowe advised the struggle became so violent that as he was
trying to subdue Robinson, his fingers went into Robinson's mouth. Detective Lowe
advised that the jeans he was wearing during the time of the incident had been stained

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with the victim's blood. Detective Lowe allowed investigators to seize the pants for

evidentiary value, which he indicated were located at his residence. The interview was

concluded at 2:49 p.m.

On the same day at 2:53 p.m., Sergeant Gai activated the audio and video
surveillance equipment within the homicide interview room. Detective Spadoni was
escorted into the room at 2:55 p.m. Sergeant Gai and Lieutenant Meunier entered the
room after Detective Spadoni and advised him of his Constitutional rights, as per
Miranda at 2:56 p.m. Sergeant Gai prepared a JPSO rights of arrestee or suspect form,
which was presented to Detective Spadoni, who reviewed the form and signed it in the
designated locations, indicating his desire to provide a statement without an attorney
present. The form was also signed by Sergeant Gai. The following is a general synopsis

of the information provided by Detective Spadoni.

According to Detective Spadoni, he was the primary case officer relative to the
narcotics investigation involving Keeven Robinson. Detective Spadoni indicated that
during the ensuing investigation Narcotics Group "3" was able to utilize a confidential
informant to purchase illicit narcotics from Robinson. Detective Spadoni indicated
Robinson had an extensive criminal history, which included crimes of violence and
weapon charges. Detective Spadoni also provided information related to the
surveillance, which was set up by members of his narcotics group on May 10, 2018.
Detective Spadoni advised he was not part of the failed stop at the Shell Station and
responded to the area when he was notified via handheld radio that Robinson was able
to evade Detectives Lowe and Sergeant Waguespack. Detective Spadoni indicated he
was traveling southbound on Labarre Place when he noticed Robinson move into his
lane of travel proceeding in a northbound direction in the Outlander. At that point,
Robinson was on a head on collision path with Detective Spadoni. Detective Spadoni

elected to activate his emergency lights to signal Robinson to stop. Robinson failed to

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comply with Detective Spadoni's visual indicator to stop and he (Detective Spadoni)
elected to swerve away from Robinson in an attempt to avoid a collision. Detective
Spadoni indicated he was unsuccessful and ultimately they (Detective Spadoni and
Robinson) collided. After the collision, Detective Spadoni recalled hearing someone
indicate on the radio that Robinson was fleeing from the officers on foot. Detective
Spadoni joined the foot pursuit. As Detective Spadoni was chasing Robinson, he
recalled seeing a black female who made a loud verbal statement, She stated, "Keeven
stop running you know you have asthma." Detective Spadoni did not know who the
female was, but did indicate he noticed the female on Lurline Street during the foot
pursuit. The pursuit continued and ended in the rear yard of a residential house.
Detective Spadoni advised he witnessed Detective Brister initially make contact with
Robinson, who attempted to strike Detective Brister. Robinson was brought to the
ground and still actively resisted his arrest. While face down, Detective Spadoni
positioned himself near the midline of Robinson's body and attempted to gain control
of Robinson's arms. Detective Spadoni advised Robinson continually placed his arms
near his waistband underneath his body. Ultimately, Detectives Spadoni and Brister
were able to gain control of Robinson's arms and place him into handcuffs. Detective
Spadoni advised that Robinson resisted arrest during the time they first made contact
with Robinson until they were physically able to place his hands behind his back and
handcuff him. Detective Spadoni indicated both Detective Bordelon and Lowe assisted
in attempting to subdue Robinson's aggression by the use of physical force. The
interview with Detective Spadoni was concluded at 3:16 p.m.

While Sergeant Gai and Lieutenant Meunier were conducting the interview with
Detective Spadoni, Detectives Buttone, Fricke and Zanotelli relocated to Detective
Lowe's residence and collected the blue jeans pants he was wearing at the time of the
incident. The investigators noticed blood on the pants near his knee and shin areas.
Crime Scene Technician Deputy Kimberly Stierwald responded to the Criminal

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Investigations Bureau. Deputy Stierwald obtained both general and specific

photographs of Detective Lowe's blue jeans as well as the blood stains. Detective
Lowe's pants were confiscated by Deputy Stierwald and submitted to the Jefferson
Parish Sheriff's Office Crime Laboratory for forensic analysis.

On the same day at 3:20 p.m. Detective Fricke activated the audio and video
recording equipment within the homicide interview room. Detective Brister was
escorted into the room at 3:25 p.m. Sergeant Gai and Lieutenant Meunier entered the
room after Detective Brister and advised him of his Constitutional rights, as per
Miranda at 3:26 p.m. Sergeant Gai prepared a JPSO rights of arrestee or suspect form,
which was presented to Detective Brister, who reviewed the form and signed it in the
designated locations, indicating his desire to provide a statement without an attorney
present. The form was also signed by Sergeant Gai and Lieutenant Meunier.

Detective Brister provided corroborative accounts as he did during his recorded
statement on May 10, 2018 as well as the information provided by Detectives Spadoni,
Lowe, and Bordelon. The interview was concluded at 3:56 p.m.

After the conclusion of the interview, Sheriff Lopinto contacted Doctor Vo by
telephone and provided her with the information gleaned during the interviews.
Sheriff Lopinto described the position Detective Lowe described he was in as well as the
pressure he applied to Robinson's neck. Doctor Vo advised Sheriff Lopinto the series of
events and actions described by Detective Lowe were consistent with the trauma
observed during autopsy. Doctor Vo indicated that it was her belief that Detective
Lowe's actions would have caused the observed trauma to the left side of Robinson
neck and the resulting asphyxia.

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As it relates to the collective interviews conducted, the narcotics detectives

provided corroborative accounts related to their positioning and actions during the
incident in the rear yard of 11 Labarre Place as well as the events leading up to the
physical altercation. The narcotics detectives also provided information related to the
narcotics investigation as well as their knowledge of Robinson's criminal history.

Louisiana State Police Investigators Bradley, Arcana, McCaffery, Bethea, and
Hughes reviewed the statements provided by JPSO Detectives Bordelon, Spadoni,
Lowe, and Brister, who remained separated during this time period. The LSP
Investigators were satisfied with the questions asked and did not believe additional
questions were necessary at that juncture of the investigation.

All of the detectives who provided statements on May 12, 2018 were released
from the Criminal Investigations Bureau pending further investigation. Sergeant Gai
elected to further the investigation by conducting additional interviews and seeking
additional records to either substantiate or disprove the information provided by the
detectives involved in the incident. At that juncture of the investigation, homicide
detectives were still awaiting the official findings of the Jefferson Parish Coroner's
Office.

On Monday, May 14, 2018, Sergeant Gai conducted a second subsequent
interview with Detective Whittington. Detective Whittington corroborated the
information he provided to Detective Buttone on May 10, 2018; however, he confirmed
that he did, in fact, speak with the dispatcher when Natallia Phelan contacted the
Jefferson Parish Communications Center.

Detective Whittington's statement was memorialized by an audio digital
recording and obtained at the Jefferson Parish Sheriff's Office Criminal Investigations

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Bureau. The statement was started on May 14, 2018, at 2:19 p.m. and ended on the same

day at 4:31 p.m. For any specific details related to Detective Whittington's statement,
refer to the transcription, which is attached and made part of the investigative file.

At about the same time Sergeant Gai was conducting an interview with Detective
Whittington (2:12 p.m.), Detective Lincoln relocated to the JPSO Crime Laboratory and
requested to inspect the contents of Robinson's back pack (Exhibit 033), which was
confiscated by Detective Roniger during the execution of the search warrant on the
black Mitsubishi Outlander found in Robinson's possession, as well as the inhaler
located on Robinson's person during the time of his arrest. Detective Lincoln inspected
the contents of the backpack, while at the JPSO Crime Laboratory. Detective Lincoln

noted the following items:

* One nebulizer machine (note machine was in operating order but seemed
to be kept unclean).

* Twelve Albuterol vials.

= One white Samsung Galaxy cellphone with a cracked screen.

« One bottle of an antibiotics prescribed to Keeven Robinson.

= One bottle of over the counter GNC supplemental Niacin with several
pills (Research revealed Niacin is a form of Vitamin "B").

* One empty bottle of Prednisone for Keeven Robinson, which contained
several pills, issued on October of 2017, (Research revealed Prednisone is
used to treat conditions such as arthritis, blood disorders, breathing
problems, severe allergies, skin diseases, cancer, eye problems, and
immune system disorders. Prednisone belongs to a class of drugs known
as corticosteroids).

« One empty bottle of Hydrocodone prescribed to Keeven Robinson, issued
on December of 2017, (Research revealed Hydrocodone is used to relieve
moderate to severe pain. It contains an opioid (narcotic) pain reliever).

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= One prescription tube of Clotrimazole prescribed to Keeven Robinson,
issued in March of 2018, (Research revealed Clotrimazole is used to treat
yeast infections of the vagina, mouth, and skin such as athlete's foot, jock
itch, and body ringworm. It can also be used to prevent oral thrush in
certain patients).

* One empty bottle of Tramadol prescribed to Leslie Moran of 4520
Williams. Blvd #F345, in Kenner, issued in March of 2018, (Research
revealed Tramadol is used to help relieve moderate to moderately severe
pain. Tramadol is similar to opioid - narcotic analgesics).

* Three empty inhalers.

= One Advair inhaler with 57 doses depleted from 250,
* One bottle of Flonase.

After reviewing the items, Detective Lincoln had the Niacin bottle (Exhibit 033A)
and the Samsung cellphone (Exhibit 033B) separated from the bag and submitted for
analysis. The transfer of the evidence from the back pack to JPSO Laboratory Services
was documented on a JPSO chain of custody form.

On Monday, May 14, 2018 Detective Roniger authored search and seizure
warrants for the three cellular devices located within the Mitsubishi Outlander. These
search warrants and supporting applications were submitted to Criminal Commissioner
Paul Schneider of the 24% Judicial District Court. Commissioner Schneider reviewed
the affidavits and endorsed them at 2:19 p-m, 2:25 p.m. and 2:28 p.m. Detective
Roniger submitted the search warrants to the JPSO Crime Laboratory and requested a
forensic analysis to be conducted on the devices.

Later that same day, Sergeant Gai authored a search and seizure warrant for
Ochsner Hospital specifically related to medical records for Detective Justin Brister. In
addition to the search warrant, Sergeant Gai also authored a subpoena duces tecum to
obtain medical records for Keeven Robinson. The affidavits were submitted to Criminal

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Commissioner Paul Schneider of the 24th Judicial District Court. Commissioner

Schneider reviewed the affidavits and endorsed them. The search warrant was
endorsed at 6:45 p.m. and the subpoena was endorsed at 4:49 p.m. Sergeant Gai
requested to seek medical records for Detective Brister based on the fact he was
transported via ambulance and treated for shortness of breath and exhaustion .

After the search warrant and subpoena were signed, Sergeant Gai served the
hospital with the orders. Both documents were also submitted to the legal department
of Ochsner Hospital.

Later that day, Detective Zeagler along with Louisiana State Police Master
Trooper Sean McCaffery and Senior Trooper Gustave Bethea, met with Natallia Phelan
at her residence, located (ea Phelan was identified
as the individual who contacted the Jefferson Parish Communication Center on the day
in question and reported her observation. Detective Zeagler and Troopers McCaffery
and Bethea conducted an interview with Phelan. The following is a synopsis of the

information she provided.

Phelan advised she is an employee with the United States Postal Service and is
currently a lelier carrier. Phelan indicated on May, 10, 2018, she was delivering mail on
Labarre Place in Metairie, when she noticed a vehicle collision. Prior to the collision,
Phelan heard what she described to be the sound of speeding vehicles. After the
collision, Phelan noticed a black male subject run from one of the vehicles. Phelan
further described several other individuals exiting vehicles and chasing after the black
male subject. Phelan described these men as police officers clad in black ballistic vests
with the word "Sheriff" displayed on the rear of the vests. Phelan indicated she called 9-
1-1 and reported her observations. While Phelan was on her cellular phone ii
ae a police officer approached her and spoke with the dispatcher. Note: As already

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discussed in this report, the officer was identified as Detective Whittington. Phelan

indicated she did not witness the altercation between Robinson and the responding
officers. Phelan also advised she noticed one police officer, who seemed out of breath.

Natallia Phelan's statement was memorialized by an audio digital recording.
The statement was started on May 14, 2018, at 7:37 p.m. and ended on the same day at
743 pm. For any specific details related to Phelan's statement, refer to the
transcription, which is attached and made part of the investigative file.

On the same day, Sergeant Gai conducted research in several law enforcement
databases regarding the Texas license plate number issued to the Scoit Krause's
Mitsubishi Outlander. The plate number registered in the JPSO ARMMS system and
revealed the vehicle was used during the commission of a shoplifting complaint filed on
April 9, 2018. Jefferson Parish Sheriff's Office Fourth District Patrol Deputy Scott
Pellegrino was dispatched to Ideal Market, located at 4421 Airline Highway on the
aforementioned date, where he met and conducted an interview with the reporting
person, Enamorado Giullermo. The report filed by Deputy Pellegrino indicated a black
male had shoplifted several items from the store and fled in Krause's vehicle. This
investigation was filed under JPSO item number: D-07162-18. Deputy Pellegrino
documented his findings in an "ARMMS'" initial report, which is attached and made
part of the investigative file.

Based upon the newly discovered information, Sergeant Gai contacted Detectives
Dennis Thornton and Jesus Falcon, assigned to the Jefferson Parish Sheriff's Office
Criminal Intelligence Center, and requested them to meet with any witnesses relative to
the shoplifting complaint who may be able to positively identify Keeven Robinson and
or retrieve any video footage, which may reveal the identity of the suspect.

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During the early morning hours of Tuesday, May 15, 2018, Sergeant Gai, along

with Detectives Zanotelli, Lincoln, Wischan, Fricke and Buttone conducted a door to
door canvass of the neighborhood hoping to locate any eyewitnesses or additional
video surveillance footage. After several hours, investigators were unable to locate
anyone who witnessed the incident on May 10, 2018; however, Sergeant Gai and
Detective Zanotelli conducted an interview with a black female, who wished to remain
anonymous. The confidential source indicated she heard through several people who
reside in the neighborhood that "Shantrel]" may have been in the area at the time of the
incident. The confidential source advised she did not know "Shantrell's" last name but
knew she resided > TE... was related to Keeven Robinson. Investigators

were unable to locate any viable video surveillance equipment.

Investigators relocated to the Criminal Investigations Bureau and conducted
research in several law enforcement databases regarding the information provided by
the confidential source. Sergeant Gai was able to identify "Shantrell" as Shantrell Moran
(black / fernal
includes numerous aggravated assault charges, intimidation of a witness, theft charges,
and child desertion. Moran has used

occasions. As previously indicated,

Moran has an extensive criminal history, which

as her residence on several

is an address associated with
Keeven Robinson. Sergeant Gai also conducted a Google search using the name of
Shantrell Moran. The search revealed Moran provided a video recorded statement to
channel 4WWL on May 10, 2018. Moran stated during the broadcast that she witnessed
Robinson fleeing from the police officers and he (Robinson) yelled out to the officers
that he was tired and had asthma. Moran also advised Robinson was not resisting
arrest only running from the police. Moran indicated that the sheriff's office would
have to pay for the death of her cousin, A print out of the article was secured by
Sergeant Gai and logged as evidence. Research on "Shantrell" also revealed that she is
most likely related to Leslie Moran as well as Keeven Robinson. Leslie Moran was the

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name of the individual listed on the Tramadol prescription bottle located in Robinson

blue backpack. Based on this information, Sergeant Gai elected not to attempt to
conduct an interview with Leslie Moran because the Robinson family is represented by

council,

Although Moran provided information relative to alleged statements made by
Keeven Robinson during the foot pursuit, Detective Spadoni provided a statement
asserting a black female, fitting Moran's description, had yelled out to Robinson during
the pursuit to stop running from the police and reminded him he had asthma and not
Robinson. For specific details regarding the information provided by Detective Spadoni

refer to the audio and video recorded statements,

Later that day, Sergeant Gai received an ATF Firearms Trace Report pertaining to
the .40 caliber Springfield XD seized from the Mitsubishi Outlander. The report

| Dae the last known owner of the firearm. The report also indicated

the firearm was purchased at Cabela's Outdoor Store located in Gonzales, Louisiana on
February 18, 2014.

Detective Roniger conducted research regarding Eric M. Davis and the
Springfield XD. Detective Roniger was able to locate a report generated by the Grand
Isle Police Department filed under item number: D-04059-18.

After reviewing the report, Detective Roniger learned that on Thursday, April 5,
2018, at 8:02 p.m. Eric Davis contacted the Grand Isle Police Department and reported
his firearm stolen from the interior of his unsecured 2016 Ford F-250, which was parked
at 151 Currault Street, Grand Isle, Louisiana. The report did not indicate if any video
surveillance was present nor did it outline any viable leads.

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Based upon the information supplied by both Scott Krause and Nancy Brown,
Sergeant Gai authored an arrest warrant for Terrill Tureaud for the charge of theft of a
motor vehicle on May 16, 2018. The arrest warrant and supporting application were
submitted to Criminal Commissioner Paul Schneider of the 24 Judicial Court.
Commissioner Schneider reviewed the affidavits and endorsed them at 6:34 p.m.
commanding the arrest for Tureaud for the specified charge. The arrest warrant was
entered into the appropriate law enforcement computer networks.

After the acquisition of the arrest warrant, members of the JPSO Homicide
Section along with members of the U.S. Marshals Regional Gulf Coast Fugitive Task

Force commenced a search for Tureaud.

The investigation pertaining to the auto theft was conducted under JPSO item
number E-13811-18. For specific details regarding this investigation, refer to the
ARMMS initial report documented by Sergeant Gai.

At 7:30 p.m. on Wednesday, May 16, 2018 Sergeant Gai met with Detectives
Thornton and Falcon at the JPSO Criminal Investigations Bureau, where they informed
Sergeant Gai they were able to retrieve video footage from the Ideal Market; however,
based on the angle of the surveillance footage, they were unable to conclusively make
out the suspect's face. Detectives Thornton and Falcon also advised they prepared a six
person photographic lineup, which contained a prior booking photograph of Keeven
Robinson, as well as five other individuals. Detectives Thornton and Falcon presented
the photographic lineup to several witnesses but they were unable to positively identify
Robinson. During the meeting, Sergeant Gai advised Detectives Thornton and Falcon
he was able to determine, through the course of the investigation, that a subject by the
name of Terrill Tureaud could have also been in possession of the vehicle during the

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month of April 2018. Detectives Thornton and Falcon agreed to show the witnesses a

photographic lineup of Tureaud. Sergeant Gai was contacted several days later by
Detective Thornton, who advised none of the witnesses were able to identify Tureaud
as the person responsible for the theft. For any specific details regarding the follow-up
investigation conducted by Detectives Thornton and Falcon, refer to Detective Falcon's

supplemental report, which is attached and made part of the investigative file.

On Friday, May 18, 2018 Sergeant Gai received the Controlled Substance
Analysis Report authored by Marcelle Folse, assigned to the [PSO Crime Laboratory.
The report indicates the green vegetable material located on Robinson's person, exhibit
10, contained Marijuana and had a gross weight of 1 gram. Exhibit 11, clear bag
containing a white powder, located on Robinson's person at the time of his arrest did
not test positive for any controlled substances. Exhibit 12, clear bag containing a light
brown powder was also tested and was determined to be heroin. The heroin weighed
in at 2 grams and was contained within (7) baggies. Exhibit 13, brown rock like
substance, also located on Robinson's person at the time of his arrest was tested and
was determined to be heroin. The contents of the glass vial labeled "Red Intense"
(Exhibit: 020) did not contain any controlled substances, Pills located in the orange
bottle (Exhibit: 033A-A) were determined to be Amoxicillin and Clavulanate. Exhibit:
033A-B was tested and did not contain any controlled substances. Refer to the Scientific
Analysis Report for any further details, which is attached and made part of the

investigative file.

On Monday, May 21, 2018 at about 11:00 a.m., Detective Zanotelli and Buttone
relocated to 1604 South Arnoult and made contact with Cheryl Robinson. Ms. Robinson
was identified as the grandmother of Shantrell Moran. As previously stated, it was
discovered during the scene canvass that Moran may have been in the area during the

incident. During the interview, Ms. Robinson confirmed that Keeven Robinson was her

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grandson and also advised before she would provide any information on the

whereabouts of Shantrell Moran she wanted to consult with the attorney who was
representing the Robinson family, Ms. Hester Hillard / Attorney at Law, Ms. Robinson
also mentioned another family member by the name of "Shannon" was also present
during the incident. Detectives Buttone and Zanotelli respected Ms. Robinson's wishes

and left the residence.

During the morning hours of Wednesday, May 23, 2018, Sergeant Gai was able to
make telephonic communication with Ms. Hester Hillard, (504) 535-6115. Sergeant Gai
requested Ms. Hillard to produce the two witnesses, Shantrell Moran and "Shannon", so
they can be interviewed by JPSO Homicide Detectives relative to what, if anything, they
observed on the day in question. Sergeant Gai impressed on Ms. Hillard how
important it is that these interviews be conducted in a timely manner so the case can
proceed without delay, Several hours later, Ms, Hillard contacted Sergeant Gai and
agreed to meet at the JPSO Criminal Investigations Bureau with both witnesses on
Tuesday, May 29, 2018, at 2-00 p.m.

On Wednesday, May 23, 2018, Detective Buttone was furnished a copy of the
medical records for both Keeven Robinson and Detective Brister. Both sets of medical
records were scanned and copied on a JPSO evidence grade dvd-r and logged as
evidence with the JPSO Property and Evidence Division.

Sergeant Gai reviewed the records pertaining to Keeven Robinson. The records
indicate Robinson was brought into the emergency room unresponsive and asystole.
Robinson was intubated and connected to the Lucas chest compression device.
Advanced life saving measures were taken; however, hospital personnel were unable to
revive Robinson. According to the records, Robinson was pronounced deceased at

11:15 am. The records also indicated Robinson had a medical history of asthma,

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eczema, Marijuana use, nicotine dependence, and schizophrenia. Despite the past

history of mental illness, the records do not indicate any prescribed psychotropic

medications.

Sergeant Gai also reviewed the records from Detective Brister. It should be
noted, Sergeant Gai redacted information related to Detective Brister's personal
information, such as home address, date of birth, and social security number,

The records confirm that Detective Brister was treated for shortness of breath and
released after treatment. For specific details, refer to Detective Brister's medical records,
which were logged as evidence with the JPSO Property and Evidence Division,

On the same day, Sergeant Gai authored a search and seizure warrant for
number 11 Labarre Place, and specifically requested authorization to obtain
measurements related to the rear yard of the residence. During the initial and second
subsequent interview with Detective Brister, he indicated as he was attempting to
apprehend Robinson, he was forced to contend with the limited space between the shed
and fence located in the rear yard. Sergeant Gai believed these measurements would
either refute or corroborate the information provided by Detective Brister. The search
warrant and supporting application were submitted to Criminal Commissioner Patricia
Joyce of the 24 Judicial Court. Commissioner Joyce reviewed the warrant and
endorsed it at 7:52 p.m,

During the morning hours, of Tuesday, May 29, 2018, Sergeant Gai was
contacted by Ms. Hester Hillard, via telephone, who indicated she would have to cancel
her scheduled appointment. Ms. Hillard advised she needed additional time to confer
with her clients and rescheduled the appointment for Thursday, May 31, 2018 at 3-00

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p.m. As already discussed in this report, Sergeant Gai requested to meet with Ms.

Hillard and her clients, Shantrell Moran and "Shannon", for interviews.

On Wednesday, May 30, 2018 Jefferson Parish Sheriff's Office Narcotics Detective
Eric Dufrene, assigned to Drug Enforcement Administration Tactical Diversion Squad,
authored a subpoena duces tecum at the request of Sergeant Gai for any and all
pharmacy recorders pertaining to Keeven Robinson. The subpoena was submitted and

endorsed by Criminal Commissioner Paul Schneider on the same day at 8:20 p.m.

On the same day, Detective Zanotelli authored a subpoena duces tecum
regarding a request for medical records for Keeven Robinson. The subpoena was
directed to the Louisiana Department of Health (Custodian of Medicaid). The subpoena
was served upon the Department of Health on June 1, 2018 by Detective Fricke at their
Baton Rouge office.

On Wednesday, May 30, 2018, Sergeant Gai along with Detectives Buttone,
Fricke and Zanotelli executed the search warrant at the residence of 11 Labarre Place,
Metairie at 4:22 p.m. Also present for the search was Shoot Team Deputy Mary Clare
Ulasiewicz. Crime Scene Sergeant Rodney Naumann assisted the homicide detectives
with the execution of the search warrant. At the direction of Sergeant Gai, Sergeant
Naumann obtained both general and specific photographs of the rear yard of the
residence, as well as photographs of the shed and the surrounding area. Detective
Zanotelli, along with Sergeant Naumann, obtained measurements of the perimeter of
the rear yard, the height of both the chain link fence and wooden fences. Measurements
were also obtained relative to the distance between the chain link fence and the shed.
This area was of note based upon Detective Brister's statement regarding the limited
space he was operating in when Robinson resisted arrest. The distance between the

fence and shed measured 3'6". None of the occupants were located at the residence,

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Sergeant Gai left a copy of the search warrant and search warrant return at the

residence.

After the execution of the search warrant, Sergeant Gai met with Detectives
Spadoni, Bordelon, and Lowe at the intersection of Labarre Place and Lurline Drive.
The detectives agreed to provide Sergeant Gai with a walk through of the path of flight
taken by Robinson during the foot pursuit. The detectives also provided specifics as it
relates to the location of the altercation with Robinson in the rear yard of the 11 Labarre

Place.

Detective Zanotelli drafted a scene sketch relative to the measurements collected
from 11 Labarre Place. The scene sketch is a “bird's eye view" of the rear yard of the
residence and depicts specific measurements related to the shed and fencing. The scene
sketch is attached and made part of the investigative file.

On Thursday, May 31, 2018, Ms. Hillard and her clients (Shantrell Moran and
“Shannon") did not show for their 3:00 p-n. appointment nor did Sergeant Gai receive
any contact from Ms. Hillard to reschedule the appointment.

On the same day, Detective Dufrene served the subpoena he obtained to the
Louisiana Board of Pharmacy located at 3388 Brentwood Drive, Baton Rouge,
Louisiana. Detective Dufrene received the requested documents on the same day and
relinquished them to Sergeant Gai. A review of the records revealed a very limited
history. Robinson filled three prescriptions in 2017; two prescriptions for hydrocodone
and one prescription for tramadol. The records establish that Robinson never received
any psychotropic medication although, Robinson was diagnosed with schizophrenia,
according to the Ochsner Hospital medical records. Sergeant Gai logged the pharmacy
records with the JPSO Property and Evidence Division.

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On Friday, June 1, 2018 Sergeant Gai received a message to contact Demone
Robinson, and Dominique Robinson regarding the status
of the investigation relative to the death of Keeven Robinson. Sergeant Gai contacted
Ms. Hillard and advised her he had received the message. Ms. Hillard indicated she
was aware these two individuals were relatives of Keeven Robinson and advised she
would reach out to the family and speak with them; however, she also advised she did
not represent either Demone or Dominique Robinson. Ms. Hillard also mentioned she
was still aware Sergeant Gai wanted to interview "Shannon" and Shantrell Moran and
would contact him to set up a meeting. As of the writing of this report, Sergeant Gai
has not received any further communication from Ms. Hillard.

On Tuesday, June 12, 2018 Detective Buttone authored a search and seizure
warrant for East Jefferson EMS relative to EMS reports filed for Keeven Robinson. The
search warrant and supporting application were submitted to Criminal Commissioner
Paul Schneider of the 24% Judicial District Court. Commissioner Schneider endorsed
the search warrant with his signature at 11:09 am. The search warrant was submitted
to East Jefferson General Hospital on the same day.

Later that day at 12:58 p.m., Sergeant Gai made contact with the Director of East
Jefferson EMS, Michael Guillot, via telephone. Sergeant Gai requested a meeting to
conduct interviews with all the Emergency Medical Technicians who responded to the
scene of 11 Labarre Place on May 10, 2018. Mr. Guillot agreed and set up a meeting for
Wednesday, June 13, 2018 at 9:00 a.m.

On the same day at 1:24 p-m., Sergeant Gai obtained two JPSO Evidence Grade
DVDs. The first disc contained the data extraction report from the Samsung cellular
Phone (Exhibit: 029) seized from the dash-board area of the Mitsubishi Outlander. The

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second disc contained the data extraction report obtained from the Samsung cellular

phone, model: SMP-M930BCT (Exhibit: 028) located in the center console of the
Mitsubishi Outlander, These extractions were conducted by Technician Solomon
Burke. Technician Burke indicted the white iPhone (Exhibit: 026), located on the floor
board of the Mitsubishi Outlander was locked and the data was inaccessible.

Sergeant Gai reviewed the data extraction from exhibit: 029. All of the
photographs appeared to be of Caucasian family. Sergeant Gai did not notice any
photographs of Keeven Robinson or anyone believed to be associated with Robinson. A
review of the data extraction relative to text messages as well as incoming and outgoing
calls did not appear to be probative to the investigation. The cellular phone number
associated with the cellular device was identified through the extraction report as (504)
314-8932. Sergeant Gai conducted research in the JPSO ARMMS system on the number
and located a Miscellaneous Incident Card (MIC) documented by Deputy Devin
Dominic on March 7, 2015, documented under JPSO item number C-05635-15. The
established number was associated with Jorge Sifuentes (white / male, dob: 02-28-1974).

Sergeant Gai conducted research in several law enforcement databases and was
unable to establish a link between Keeven Robinson and Jorge Sifuentes. Sergeant Gai
attempted to locate Sifuentes at his last known addresses, but was unsuccessful.

Sergeant Gai reviewed the data extraction from exhibit: 028. A review of the text
messages appeared to be consistent with dialogue used by street level drug suppliers
and users. A review of the data extraction relative to photographs did not appeared to
be probative to the investigation.

Both JPSO evidence grade DVDs were logged with the JPSO Property and

Evidence Division.

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Later that day at 3:11 p.m. Lieutenant Jamey Perque, Commander of the JPSO
Crime Scene Division, visually inspected the contents of the blue mesh backpack, which
was located in the front seat of the black Mitsubishi Outlander operated by Keeven
Robinson on May 10, 2018. Lieutenant Perque obtained both general and specific
photographs of the contents located within the backpack. Some of the items located in
the backpack included the items already viewed by Detective Lincoln on May 14, 2018.
Lieutenant Perque obtained photographs of medical documents from Touro Infirmary
Hospital. The patient, Keeven Robinson, was treated by Doctor Elisa Arrillaga on July
18, 2017, for complications of asthma.

On Wednesday, June 13, 2018 at 9:00 a.m. Sergeant Gai, along with Detectives
Buttone and Wischan, met with Director Michael Guillot as well as East Jefferson EMT
Supervisor Huey Marcel at the East Jefferson EMS complex located at 3120 Lime Street,
Metairie, Louisiana. While at the complex, investigators obtained recorded statements
from Paramedics Tammy Dardar, Joshua Hill, Kemberly Wilkerson, Michael Ortiz,
Alicia Tate, and Jaiden Jackson. All of the paramedics provided corroborative accounts
relative to their actions and observations related to the events on May 10, 2018.

The first interview conducted was with Paramedic Dardar who was the first
EMT to arrive at the location. On the day in question, Paramedic Dardar responded to
the location and, upon her arrival, she was approached by an unknown JPSO deputy
who advised her CPR was in progress relative to the arrested subject. Paramedic
Dardar obtained the necessary equipment and relocated to the rear yard of the 11
Labarre Place, where she found Detective Brister admunistering CPR. Paramedic
Dardar examined Robinson, but was unable to locate any signs of life. At that juncture,
Paramedic Dardar noticed Detective Brister was on the verge of slipping into
unconsciousness and took over CPR on Robinson. Paramedic Dardar administered care

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and provided advanced life saving measures, which included the use of the Lucas

machine (automated device used to r te CPR compressions) and intubation.
Shortly after Paramedic Dardar began care, East Jefferson EMS Unit 50, manned by
Paramedics Joshua Hill and Kemberly Wilkerson, arrived to assist. Paramedic Dardar
indicated as she was administering care, an unknown JPSO deputy, subsequently
confirmed to be Sergeant Minnis, searched Robinson and located a significant amount
of narcotics. Paramedics Dardar advised she noticed Robinson was also in possession
of an asthma inhaler. Paramedic Dardar conducted a visual inspection of Robinson's
body and noticed some bruising on his face but did not notice any other signs of
trauma. Ultimately, Paramedic Dardar, Hill and Wilkerson transported Robinson to the
closest hospital, Ochsner Main campus on Jefferson Highway. Paramedic Dardar
advised at no time during the time she was treating Robinson was he ever conscious
and thus, did not make any statements.

The recording obtained from Paramedic Dardar started on June 13, 2018 at 9:21
a.m. and ended 9:28 am. on the same day. For any specific details pertaining to
Paramedic Dardar's audio statement, refer to the transcription, which is attached and
made part of the investigative file.

The second interview conducted was with Paramedic Alicia Tate. According to
Paramedic Tate she was manning unit EJ-60 on the day in question and was riding with
her partner, who she identified as Paramedic Jaiden Jackson. Both Paramedics Tate and
Jackson responded to the area of 11 Labarre Place to provide aid and additional
assistance. Paramedic Tate indicated as they arrived she noticed her Field Supervisor,
Paramedic Michael Ortiz, providing aid to Detective Brister. Paramedic Tate advised
she learned Detective Brister's chief complaint was shortness of breath. Paramedic Tate
indicated she noticed that Detective Brister did, in fact, appear to be trying to catch his

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breath. Paramedics Tate and Jackson tended to Detective Brister and, ultimately, they

transported Detective Brister to Ochsner Main Campus, where he was treated

The recording obtained from Paramedic Tate started on June 13, 2018 at 9:35 a.m.
and ended at about 9:39 a.m. on the same day. For any specific details pertaining to
Paramedic Tate's audio statement, refer to the transcription, which is attached and

made part of the investigative file.

The third interview conducted was with Paramedic Jaiden Jackson. Paramedic
Jackson corroborated the information provided by Paramedic Tate and he provided a

simular statement as Paramedic Tate.

The recording obtained from Paramedic Jackson started on June 13, 2018 at 9:42
a.m. and ended at about 9:45 a.m. on the same day. For any specific details pertaining
to Paramedic Jackson's audio statement, refer to the transcription, which is attached and

made part of the investigative file.

The fourth interview conducted was with Paramedic Joshua Hill. According to
Paramedic Hill, on the day in question his partner, Kemberly Wilkerson, and he were
manning unit EJ-50. Paramedics Hill and Wilkerson responded to the location and
entered into the rear yard of 11 Labarre Place, where he located Paramedic Dardar
preforming CPR on Robinson. ‘Paramedics Hill and Wilkerson assisted Paramedic
Dardar and transported Robinson to Ochsner Main Campus for requisite treatment.
Paramedic Hill corroborated the fact that Robinson was never conscious and was

unable to make any statements.

The recording obtained from Paramedic Hill started on June 13, 2018 at 9:51 a.m.
and ended at about 9:55 a.m. on the same day. For any specific details pertaining to

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Paramedic Hill's audio statement, refer to the transcription, which is attached and made

part of the investigative file.

The fifth interview conducted was with Paramedic Field Supervisor Michael
Ortiz. Paramedic Ortiz indicated, on the day in question, he was manning unit E]-80.
Paramedic Ortiz responded to the location to assist the on scene paramedics.
Paramedic Ortiz indicated he arrived on scene and was directed to the rear yard of 11
Labarre Place, where he noticed Paramedics Dardar, Hill and Wilkerson administering
aid to Robinson. At that time, Paramedic Dardar advised that a JPSO deputy needed
medical attention. Paramedic Ortiz proceeded to the street area and administered aid
to Detective Brister for shortness of breath and exhaustion. Paramedic Ortiz advised he
was joined by Paramedics Tate and Jackson who transported Robinson to Ochsner
Hospital Main Campus.

The recording obtained from Paramedic Ortiz started on June 13, 2018 at 10:00
a.m. and ended at 10:38 a.m. on the same day. For any specific details pertaining to
Paramedic Ortiz's audio statement, refer to the transcription, which is attached and
made part of the investigative file.

The six and final interview conducted was with Paramedic Kemberly Wilkerson.
Paramedic Wilkerson provided similar details as did Paramedic Hill. Paramedic
Wilkerson was able to corroborate the information provided by Paramedics Hill and
Dardar.

The recording obtained from Paramedic Wilkerson started on June 13, 2018 at
10:33 a.m. and ended at 10:38 a.m. on the same day. For any specific details pertaining
to Paramedic Wilkerson's audio statement, refer to the franscription, which is attached
and made part of the investigative file.

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On Thursday, June 14, 2018 Sergeant Gai was notified by Dawn Authement,
assigned to the JPSO Warrants and Attachments Division, that Terril] Tureaud was
located and arrested in the City of New Orleans on June 12, 2018, where he was booked
for the arrest warrant issued by Sergeant Gai on Wednesday, May 16, 2018.

Sergeant Gai procured a copy of the New Orleans Police Department Incident
Reported regarding the arrest of Tureaud. The report was generated and authored by
senior Police Officer Jason Adams and filed under NOPD item number: F-14677-18.
The report indicates Tureaud was stopped by New Orleans Police Officer Jason Adams
for suspicious activity eae Ree | Officer Adams conducted
a computer inquiry, which revealed Tureaud was wanted in Jefferson Parish for theft of
a motor vehicle. Tureaud was placed under arrest and booked at the Orleans Parish

Prison,

On Friday, June 15, 2018 at 11:45 am. Terrill Tureaud was extradited from the
Orleans Parish Prison and booked at the Jefferson Parish Correctional Center for the
arrest warrant issued by Sergeant Gai for the charge of theft of a motor vehicle.
Tureaud was transported by JPSO Deputy Jerilyn Morse, assigned to the Jefferson
Parish Sheriff's Office Corrections Division.

Later that day, at 1:35 p.m. Sergeant Gai and Detective Fricke relocated to the
Jefferson Parish Correctional Center and made contact with Tureaud. Sergeant Gai
asked Tureaud if he would be willing to participate in an interview. Tureaud agreed
and was transported to the JPSO Criminal Investigations Bureau. Prior to the leaving
the correctional facility, Sergeant Gai verbally advised Tureaud of his Constitutional
tights as per Miranda at 1:46 p.m. Tureaud indicated he understood his rights and
agreed to provide a statement without an attorney present. Sergeant Gai prepared a

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JPSO rights of arrestee or suspect form. Tureaud endorsed the document as well as

Sergeant Gai and Detective Fricke.

The video and audio surveillance within the homicide interview room was
activated by Sergeant Gai at 2:04 p.m. and Tureaud was placed inside the interview
room at 2:06 p.m. followed by Sergeant Gai. The interview was concluded at 2:29 p.m.
The following is a general synopsis of the information provided by Tureaud.

During the course of the interview, Tureaud acknowledged he was, in fact, In
possession of the Mitsubishi Outlander found in Keeven Robinson's possession prior to
his death. Tureaud indicated in the month of April, 2018 he met a black female, who he
identified as Nancy Brown from a single confirmation photograph. Tureaud advised
Brown offered to trade the Mitsubishi Outlander for "crack cocaine". Tureaud advised
he purchased the narcotics in Jefferson Parish and traded the "crack cocaine" for the use
of the vehicle for a period of four days. Tureaud did not honor the terms of the
agreement and elected not to return the vehicle. During the time period of late April,
2018, Tureaud was introduced to Keeven "Max" Robinson by a mutual friend who
resided across the street from his mother's residence. Tureaud was able to identify
Robinson via a single photograph. Tureaud entered into an agreement with Robinson
to exchange $50.00 worth of heroin for the two day use of the Mitsubishi Outlander.
Robinson agreed and provided Tureaud with the narcotics and Tureaud provided
Robinson with the vehicle. Tureaud advised he did hear about the incident on the news

and was aware the vehicle in question was used during the incident.

At the conclusion of the interview, Sergeant Gai and Detective Buttone
transported Tureaud back to the Jefferson Parish Correctional Facility.

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On Monday, June 18, 2018, Sergeant Gai received the East Jefferson EMS medical

records for Keeven Robinson pursuant to the search warrant submitted by Detective
Buttone. Sergeant Gai reviewed the records and noted that they reflected information
already provided by on scene paramedics and JPSO detectives. The records indicated
Keeven Robinson was never conscious during treatment, and did not provide any
statement during that time period. The records were logged as evidence with the JPSO
Property and Evidence Division.

On Wednesday, June 20, 2018, Sergeant Gai authored two search warrants. The
first warrant was for Daughters of Charity Heath Center, located at 111 N. Causeway
Boulevard, Metairie Louisiana regarding any and all medical records for Keeven
Robinson. The second warrant was for the white Samsung cellular device located in
Robinson's blue Jansport backpack, located within the black Mitsubishi Outlander. The
search warrants and supporting applications were submitted to Criminal Commissioner
Patricia Joyce of the 24 Judicial Court. Commissioner Joyce reviewed the first warrant
(Daughters of Charity Medical Center) and endorsed it at 6:18 p.m. The second warrant
(white Samsung cellular phone) was endorsed by Comunissioner Joyce at 7:01 p.m.

The search warrant for the white Samsung cellular phone was submitted to the
Jefterson Parish Sheriff's Office Digital Forensic Unit and is still in the process of being
analyzed.

Deputy Ulasiewicz served the search warrant to Daughters of Charity Medical
Center on Thursday, June 21, 2018 at 11-30 am,

Later the same day (June 71, 2018) Sergeant Gai requested assistance from the
New Orleans Police Department with securing a search and seizure warrant Specifically
related to medical recorders for Keeven Robinson from Touro Infirmary Hospital,

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located at 1401 Foucher Street, New Orleans, Louisiana. Police Officer Darrin Bush

authored the search warrant on June 21, 2018. Officer Bush submitted the search
warrant to Judge Harry Cantrell of the 41% Judicial Court. Judge Cantrell reviewed the
warrant and endorsed it at 2:18 p.m. Officer Bush provided Sergeant Gai with the
search warrant so that it could be served upon Touro Hospital.

On Monday, June 25, 2018, at 10:15 a.m. Sergeant Gai served the custodian of
recorders with Touro Hospital with the search warrant. Tammy LeBlanc, Manager
Health Information Management, complied with the order of search and provided
Sergeant Gai with a certified copy of any and all medical records pertaining to Keeven
Robinson. A copy of the search warrant and return are attached and made part of this
investigative report.

Sergeant Gai reviewed the records and learned Keeven Robinson was admitted
to the Touro hospital on numerous occasions for asthma related complaints form 2016
until his death. Robinson was diagnosed on several occasions with bronchitis asthma
or asthma with acute exacerbation. For any specific details refer to the medical records,
which were logged with the JPSO Property and Evidence Division.

On Tuesday, June 26, 2018, 2:47 p.m. Sergeant Gai received the medical records
for Keeven Robinson from Daughters of Charity Heath Center via fax from Joyce Wells.
Sergeant Gai reviewed the records and noticed Keeven Robinson was treated at the
heath center on numerous occasions for asthma related complications. For any specific
details refer to the medical records, which were logged with the JPSO Property and

Evidence Division.

Later that day, (June 26, 2018) Sergeant Gai received the DNA Report authored
by Jefferson Parish Sheriff's Office Analysist David Cox. The report indicated several

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samples of the blood left in the fabric of Detective Lowe's pants were obtained and

compared to a known sample of Robinson's DNA collected during autopsy. The report
indicated Robinson was a major contributor of the sample. For specific details, refer to
the DNA Report, which is attached and made part of the investigative file.

On Tuesday, June 26, 2018, Sergeant Gai obtained training records for Detectives
Bordelon, Brister, Lowe, and Spadoni form the Municipal Training Academy. After
reviewing the records, Sergeant Gai learned that Detectives Brister and Bordelon
attended the Jefferson Parish Sheriff's Office Training Academy. During their training,
they completed the MDTS (Monadnock Defensive Tactics System) course. This course
teaches the principles of handcuffing an arrested subject in a prone position. Detective
Lowe completed the training academy at the Gretna Police Department and Detective
Spadoni attended the training academy at the St. Charles Parish Sheriff's Office. Both
Detectives Spadoni and Lowe completed the MDTS course at their respective

academies.

On Monday, July 16, 2018, Sergeant Gai sent a request for the autopsy and
toxicology reports pertaining to Keeven Robinson. The request was submitted via
email to the Jefferson Parish Coroner's Office. A copy of the email is attached and made
part of the investigative file,

On Tuesday, July 31, 2018, Sergeant Gai received the forensic autopsy and
toxicology report authored by Doctor Vo. The autopsy report reflects information
provided by Doctor Vo on May 12, 2018. The report also indicated Robinson died as a
result of compressional asphyxia and blunt force injuries. The manner of death was
ruled a homicide. Microscopic sample analysis revealed Robinson was in the midst of
an asthmatic event during the time of his death. The toxicology report also revealed
Robinson's blood contained nicotine, tramadol, and THC at the time of his death. The

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information contained within the autopsy and toxicology reports were discussed with

Doctor Vo via telephone on the same day. As outlined in Roman numeral III of the
autopsy report, acute asthmatic exacerbation was listed as a contributing factor in
Robinson's death. After reviewing the report, Sergeant Gai was unable to locate any
specific information relative to the possibility of the Robinson sustaining any particular
injuries in the vehicle collision or subsequent flight from officers. For specific details
related to the autopsy and toxicology findings, refer to the reports, which are attached
to and made part of the investigative file.

On Wednesday, August 1, 2018, Jefferson Parish Sheriff's Office Auto Theft
Sergeant Nicholas Cottone conducted search into the temporary license plate (LA
18839452) displayed on the Mitsubishi Outlander, which was operated by Keeven
Robinson. Sergeant Cottone indicated the plate number has never been issued by the
Louisiana Department of Motor Vehicle and is a fraudulent temporary license plate.

On Monday, August 6, 2018, Sergeant Gai was contacted via telephone by
Technician Solomon Burke with Jefferson Parish Sheriff's Office Digital Forensic Unit.
Technician Burke advised the white Samsung cellular phone was password protected
and was unable to be accessed.

As of the writing of this report, the DNA results pertaining to the wrist watch
(located in the driveway of 606 Lurline), the blood swab (located on the fence at 11
Labarre Place), and the Springfield Armory handgun (located in the black Mitsubishi
Outlander) are still currently pending. The results will be submitted upon completion
and receipt.

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Conclusion:

Pursuant to a two week investigation conducted by the Jefferson Parish Sheriff's
Office Narcotics Division, specifically Group 3, one Keeven Robinson, aka Maxx, was
established to be a mid-level narcotics trafficker based on various investigative
endeavors to include intelligence purchases by a confidential informant(s).
Surveillance, confidential source information and law enforcement database: research
collectively contributed to a profile of Robinson as possessing and discharging firearms
in the commission of various crimes. In addition to documented firearms related
felonies, Robinson had a prior flight from law enforcement in a vehicle and on foot.
Beyond mere arrests, Robinson was convicted of attempted armed robbery, discharge of
a firearm, felon in possession of a firearm, interfering with a police investigation
(amended plea for the flight charge) and distribution of a controlled substance.

On May 10, 2018, narcotics investigators established a planned final surveillance
of Robinson with the intent to conduct an investigatory stop once he entered the Parish
of Jefferson, as he was believed to be armed and in possession of a quantity of heroin
for distribution. Given Robinson's established history of violence with firearms and
propensity for flight, narcotics investigators opted to isolate him from his vehicle and
thereby prevent vehicular flight.

Once Robinson exited his vehicle and entered the Shell Station on Jefferson
Highway, investigators unsuccessfully attempted to detain him before he could re-enter
the vehicle. Nonetheless, Robinson fled the station in his vehicle, colliding with two
sheriff's office vehicles as he attempted to elude detention. After the second sheriff's
office vehicle and his own vehicle, subsequently determined to be stolen, were disabled,
Robinson fled into the neighborhood on foot.

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May 10, 2078 E-08492-18 Detective Donald Zanotalll
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